Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 1 of 67

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JOSEPH A. STALLARD,
13450 Farmerest Ct., Apt 636
Herndon, VA, 20171

(703) 310-7049

Plaintiff,

Y.

GOLDMAN SACHS GROUP, INC.

200 West Street
New York, NY 10282

GOLDMAN SACHS & CC. LLC
200 West Street
New York, NY 10282

VOODOO SAS
17 rue Henry Monnier
75009 Paris, France

Defendants.

4:20-cv—-02703 JURY DEMAND
Assigned To - Walton, Reggie B.

20
Assign. Date : 9/1 8/20 .
Description: Pro Se Gen. CW. (F-DECK)

Case:

COMPLAINT

JURY TRIAL DEMANDED

COMPLAINT

1, Plaintiff Joseph A. Stallard brings this action against Goldman Sachs Group, Inc.

(“Goldman Group”) and Goldman Sachs & Co. LLC (“Goldman Co”) (collectively, “Goldman”

or “Goldman Sachs”) and Voodoo SAS for copyright and trademark infringement of his

intellectual property and the related racketeering and antitrust violations.
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 2 of 67

TABLE OF CONTENTS

NATURE OF THE ACTION oc ccsecsseccecneseeseescaeeanenecsseseeressonaeecenenaseseessteessneseeseessssuraerensnses 5
PARTIES .oocecccccessscessesstensccesessecaesagecseecesseeecsacseusaacaecatesaesnseaessatenessesuassseaaneeseessersassecnetaearavorscerseeeses 5
JURISDICTION AND VENUE uu.cccccscseccesscescessecesoeeeceeecsseevesseseceereesseeeoasanesanserssedeerenornesnssenise 6
Subject Matter Jurisdiction 0... ceecesecsenssvsseesvescsecsneseneseeseessesennssssensasesesesseedseeaneeneates 6
Personal Jurisdiction «2.00... ccc ecsesesseseetesenetneenseecesceeessevenecsuscsassensaeteescenessceresstesenseessesdssnagransusses 7
GOEdIMNAN........cececeseecescorsrenecnteceetsenseenereeneeenscersdeenseesaueeseaceeneasnenssceasedscnsesersaseuasesnssenedsenseerenesee 7
VOOd OO... cceesccereessceeecseseraeenseceeeeneesdaeseeseeeeaaesacesaenssessusenadansaesaenssesaeasersanssasensesesenneresssenssnnedsas® 8
VOTE ose e eect eeceeeenereereaneareenserensneerssserensreneeereedeeeeenePesnreeenesShPe ene aeennag paeeadaeeagaenaeagensepanenseneenes 10
FACTUAL ALLEGATIONS... ceeeceereeceecneceeeteceesceetersdseaseseeassseessedessucsusecsenseseasensaseeeesaess 10
Trademark Infringement ............c:ccccessseceseecencerseeseeseeceeeaseecerscesenssertssnseseneessecssnesasesernsessasnenanes 10
Copyright Infringement 0... cece esceseseseeseseceseecssenssreessssaseesaesanseneesaesenestasnesssnensensneeese® 13
Games made with Unity are casy t0 COPY... cescesteecseseeeresceeseseesepageeesssessessversecanessneneeys 13
Some of Voodoo's history of copyright infringement, including Unity games................. 14
Direct evidence Knock Balls copied Knocky Balls... ccc eee ceeeseseeaeceeeeeesseeeesseeseaeeeeres 17
Voodoo's Copyright Infringement 0000... ee sesseeeseeeeeseseereesersessessasersreensseessevensasaseserentens 18
Racketeering ...c.cccccccccccesseesecceeceeceseaeerenseceeceeneseeseesevececarerecereneesrecesernecss set eaevensesseeeeasecnesenaseessass 18
Criminal Copyright Infringement ..... cc css cess ceseeresssseneseassareseseassesaecseeaasseesepeeesnseseeeanener 18
Trafficking in Goods with a Counterfeit Mark 0.0... cc cccsseessseseesssesescntensseeeeesereateoreatenseas 18
Wire Fraud ...... ccc ccscsccesseeseeseceseesseceneeerseeeeeaceassasscasersesesssersesserensesnsessesrassereecsteneseeneseasensaeneass i9
Bribery in Violation of the Foreign Corrupt Practices Act and Travel ACt........ccceeeeeeees 24
Bribery of U.S. Public Officials.....cscccscesersesessteeasesesseseaseecaeseesensseeaeresseaeennseaseesseeaesesenees 26
Money Laundering... ccccsscssccessesenscensersesnsssssecseasseuersusessnenesnaseeerateareneesaerratensesseapensenueat 29
AMTULUSE eee caceeceneescnerseneeesessseesenseasasenseacosesesgesasesessasenprasennernrertederbhedeeebendsseeaanenseenuneneenaes 31
The free hyper-casual mobile video games market is a valid antitrust market..............0 31

The market is highly fragmented and difficult to enter. ........ccccessesecseescesesceessesteceeesseenseess 31
Goldman is a giant in a market of PyQimieS 2.00.0... ssessesersssecerenesseenereesensseeessseneasareeneneses 33
Goldman helped Voodoo dominate the market... ec eseeseescerssesesesseseesesenescseeseseeesseenes 33
COUNT 1 (Voodoo) Willful Trademark Infringement 15 U.S.C. § L114). ce ceeneeeeeenees 35
COUNT 2 (Voodoo) Willful Violation of 15 U.S.C. § 1125(a) ee seeeeensorseertersestrsneeneeases 37
COUNT 3 (Voodoo) Willful Counterfeiting 15 U.S.C. § LIV 7. ese eeceseesstessternseensenenseens 37
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 3 of 67

COUNT 4 (Goldman Sachs) Contributory Trademark Infringement and Counterfeiting 15 U.S.C.

8§ 11 E41), 1117 and 1125(a) cece cee cecsccsssesecensnsesaressenessnsessenesasseassavacaseseesestpesanessenssenens 39
COUNT 5 (Goldman Sachs) Vicarious Trademark Infringement and Counterfeiting 15 U.S.C.
8§ LLV4(1), 1117 and 1125 (a). ee ceeseeseenessssereesoreneeneseesasneegesseeessseensaseeesssensenssenseasereasennes 39
COUNT 6 (Voodoo) Willful Copyright Infringement 17 U.S.C. § S01 (a)~(b).... ee eeeteen ence 40
Direct Evidence of Copying... ccccsceesesesesecesseesesscssessavesasesaseesaereassaseeresscrastevereastenreageasansnerass 40
Indirect Evidence of Copying oe. ecccccececesseeessseecseressecssereseeecounteresdeesecdeasedeeasaseretensersesescerass 41
Copyright Infringement 0... cesesesssnssessseesneesresseeeaseeseeesessresserstsssesaseetensasssnensseneaenentaaes 42
Copyright Infringement was Willful... eeeserseeesseseneenscseesceensasseessesesnenesasorsnesseresaesenter 42
COUNT 7 (Goldman Sachs) Contributory Copyright Infringement 17 U.S.C. § 501(a}-(b)...... 43
COUNT 8 (Goldman Sachs) Vicarious Copyright Infringement 17 U.S.C. § 501(a)-{b) ........... 44
RICO PREDICATE ACTS (Voodoo and Goldman Sachs) 00.0... ccciseeccecessceseetesseeaescetensseeeness 44
Criminal Copyright Infringement 18 U.S.C. § 2319 (17 U.S.C. § 506(a)).. eee reseeseetenees 44
Trafficking in Goods with a Counterfeit Mark 18 U.S.C. § 2320(8)....ccesesesseseeceneeenrenernsees 45
Wire Fraud 18 U.S.C. 8 1343 occ ccccscsecceeneccesecsenesreneresateneeenensenteessersesersiessessnsteanenenaneagenes 45
Voodoo's Knock Bails fraudulently violated of Google and Apple policies .......... cee 46
Voodoo posted a fake negative review for Knocky Balls... ceeeesscseesseeseenneeeeeenraees 46
Voodoo fraudulently manipulated installs, reviews, and ratings... sees teesteteneeeeeeserens 46
Voodoo fraudulently had Google remove Knocky Balls from Google Play. .........cccceee 47
Voodoo did not remove ads from their games when users paid... ccscesseeseeesseeeseersseees 47
Voodoo fraudulently claimed their games were multiplayer when they were not. ............. 47
Goldman’s Wire Fraud .........cccccecsccesseeeteececesersenecesevsnecseesescseanaraassceeavacesensesrensnsrestreensenes eens 48
Travel Act Bribery Violations 18 U.S.C. § 1952(a) 0... cecsccssscssseetessseneeessseeneseesnseseeceeenenessees 48
Bribery 18 U.S.C. § 201 ce ccececeseesseeeseecerencsenseneaeesersessesesessessateensssaenuenssassenseasersenesrennseregs 49
Money Laundering 18 U.S.C. § 1956. seeeeseessesescensesessensesensssseesaseessessrsssssavessersssdrarasy 50
Goldman laundered money to bribe Malaysian officials 0.0.0... ccsesscescsseneeneeecesepeensseeeeee 50
Goldman laundered money to fund Voodoo’s criminal activities... cesses teeeeeees 50
COUNT 9 (Goldman Sachs) Federal Civil RICO 18 ULS.C. § 1962(a) oo. cecceseeseesteenesserereneenes 51
COUNT 10 (Goldman Sachs and Voodoo) Federal Civil RICO 18 U.S.C. § 1962(b) .... eee 52
COUNT 1t1 (Goldman Sachs and Voodoo) Federal Civil RICO 18 U.S.C. § 1962(6) oe 53
COUNT 12 (Goldman Sachs and Voodoo) Federal Civil RICO 18 U.S.C. § 1962(d) ..... ee 54
COUNT 13 (Goldman Sachs and Voodoo) Restraint of Trade 15 U.S.C. § 1 oc eeeeessrcteeeeteseee 55

COUNT 14 (Goldman Sachs and Voodoo) Acquisition in Restraint of Trade 15 U.S.C. § 18... 57

3
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 4 of 67

COUNT 15 (Goldman Sachs and Voodoo) Common Law Trademark Infringement and Unfair

COMpetitiOn, 2... ceccceecceseereeetereeccsensnseesessseanesesanenseseseaesesasescessessvenscensacerceateeeseacusarsensasnaanenesenress 58
COUNT 16 (Voodoo) Fraud ou... ceeesseeesecsesssenseersacsdseceespasesssessenssseneasesessasseseeseassanesesss tengeaey 59

Fraudulent misrepresentation to Google and Apple ......:::ccsscesessecessesceseneceesensesenssereenenseetees 60

Posting a fake review... eesccesersecessesssnesnisesesssesecenessesensreesesessensseseneseeesaseenteceaeacsatenssenanavsnees 60

Reporting a false violation to Google Play 0... .sccessesseeeeceteceneneneeseecceansenensneaeesserentaseacasesets 61
COUNT 17 (Voodoo) Negligent Misrepresentation......... ic ccesseteseseeseetesestsesesensessnaneestenesneens 61
COUNT 18 (Voodoo) Tortious Interference... csensrecreseeeaeransseseseenesssensnessenneseaseeseessenanes 63
COUNT 19 (Goldman Sachs and Voodoo) Unjust Enrichment ...........ccsseeecnes crete ceeeseerseneneanaes 64
COUNT 20 (Goldman Sachs and Voodoo) Civil Conspiracy ......cccceseresecscesceeereeeeessenenceetnnes 64
PRAYER FOR RELIEP .......ccccscecccessecseecensescenecseeseeeaeeneraesneaseseseressaessenasasesseaseneseseseeensssenteneas 65
DEMAND FOR JURY TRIAL wo..cccccccccssceseersescsceecesceneseesesesessssessesacsessssassecaessensenseasesenesacertasans 66
Case 1:20-cv-02703-RBW Documenti1 Filed 09/18/20 Page 5 of 67

NATURE OF THE ACTION

2. Voodoo distributed a video game infringing the copyrights of Plaintiff Stallard’s
Knocky Balls video game, and they called it Knock Balls, The name of the game is so similar that
Stallard frequently typed the name of the wrong game throughout the complaint. Then Voodoo
gave Stallard’s game a fake negative review, and then Voodoo reported Stailard’s game to Google
Play. Google removed Stallard’s game from Google Play and put Stallard’s developer account in
jeopardy.

3, Voodoo has a long history of infringing copyrights and trademarks with their games
and ads for their games. They also have a history of various frauds like what they did to Stallard.

4. Goldman Sachs funded Voodoo with at least $200 million, so Voodoo did these
activities on a grand scale. The scale was even bigger because Goldman laundered the funds for
Voodoo through the Cayman Islands using a $7 billion vehicle called West Street Capital Partners
VU. Goldman’s racketeering activity funded Voodoo’s racketeering activity. The influx of funds
from Goldman caused Voodoo to dominate the mobile video game market in a way that violates

the antitrust laws.

PARTIES
5. Plaintiff Joseph A. Stallard is an individual and citizen of Virginia, residing at
13450 Farmerest Ct. Apt 636, Herndon, Virginia 20171, and doing business as Osgoode Media,
as an individual. Osgoode Media is the registered fictious name for Joseph A. Stallard.
6. Defendant Goldman Sachs Group, Ine. is a Delaware Corporation with its

principal place of business at 200 West Street, New York, NY 10282.
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 6 of 67

7. Defendant Goldman Sachs & Co. LLC is a New York limited liability company
with its principal place of business at 200 West Street, New York, NY 10282.

8. Defendant Voodoo SAS is a French simplified joint-stock company (Société par
actions simplifiée - SAS) with its principal place of business at 17 rue Henry Monnier, 75009

Paris, France.

JURISDICTION AND VENUE

Subject Matter Jurisdiction

9, This is an action for copyright infringement under the Copyright Act, 17 U.S.C. §
101 ef seq.; trademark infringement under the Lanham Act, 15 U.S.C. § 1051 ef seq.; restraint of
trade under the Sherman Antitrust Act, 15 U.S.C. §§ 1-7 and Clayton Antitrust Act, 15 U.S.C. §§
12-27; and racketeering under the Racketeer Influenced and Corrupt Organizations Act ("RICO
Act"), 18 U.S.C. § 1961-1968. This Court has original jurisdiction over those claims, under 28
U.S.C. § 1331.

10. This Court also has subject matter jurisdiction under 15 U.S.C. § 4 Gurisdiction
over Sherman Act claims), 15 U.S.C. § 1121 Gurisdiction over Lanham Act claims), 28 U.S.C, §
1337 (jurisdiction over antitrust claims), 28 U.S.C. § 1338(a)Gurisdiction over copyright and
trademark claims), and 18 U.S.C. § 1964 (jurisdiction over RICO claims). This Court also has
jurisdiction over the unfair competition claims under 28 U.S.C. §1338(b).

11. This Court has supplemental jurisdiction over the other claims under 28 U.S.C, §
1367(a) because these claims are so related to the federal claims that they form a part of the same

case or controversy and derive from a common nucleus of operative facts.
Case 1:20-cv-02703-RBW Documenti1 Filed 09/18/20 Page 7 of 67

Personal Jurisdiction
12. Stallard filed a Waiver of Service of Summons to serve process upon the
defendants, which is the same as if he served process on them personally. Fed. R. Civ. P. 4(d)(4).
For the sake of brevity, this will be referred to simply as “service” or “service of process”, but

technically these terms refer to the filing of a Waiver of the Service of Summons.

Goldman

13. Stallard served process on GSC and GSG through their common agent registered
in the District of Columbia. Thus, Goldman was found in DC, so this Court has personal
jurisdiction over the antitrust claims through the nationwide service of process provisions. 15
U.S.C. § 22; Fed. R. Civ. P. 4(k)(1)(C). Goldman is both found and has an agent in DC, so this
court has personal jurisdiction over the RICO claims through the nationwide service of process
provisions. 18 U.S.C. § 1965(a); Fed. R. Civ. P. 4€)(1)(C).

14. The service of process on Goldman's registered agent also gives the court personal
jurisdiction over Goldman. D.C. Code § 13-334(a); Fed. R. Civ. P. 4(k)(1)(A).

15. Goldman has a consistent pattern of regular business activity in DC. Goldman has
a gorgeous penthouse office suite in the “beyond trophy-class building” at 101 Constitution
Avenue NW in DC. It is called “the most prestigious commercial address in Washington.” It
overlooks the US Capitol building, Goldman employs roughly 50 people there, and they have done
regular business there since at least 2008.

16. This Court has personal jurisdiction over the RICO and antitrust claims based on
nationwide service of process, and this Court has pendent personal jurisdiction over Goldman for
the other claims. They arise out of a common nucleus of operative facts with the RICO and

antitrust claims, and they are the same claims, but under different statutory and common law
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 8 of 67

liability. For example, the criminal copyright infringement under the RICO Act claims is the same
as the copyright infringement under the Copyright Act. It would be in the interest of judicial

economy and fairness to the litigants for the court that tries the RICO claims to try all the claims.

Voodoo

17. Under Fed. R. Civ. P. 4(k)(2), this Court has personal jurisdiction over Voodoo
because the claims arise under federal law (as described above); Voodoo is not subject to
jurisdiction in any state's courts of general jurisdiction; and Stallard served process on the
authorized representative (attorney) of Voodoo, while Voodoo was present in the United States
before a United States court (and Voodoo had expressly submitted to the jurisdiction of United
States courts). This service of process is consistent with due process and the United States
Constitution.

18. The United States has jurisdiction over Voodoo because Stallard served process, in
the United States, on an attorney representative for Voodoo while she appeared for Voodoo as the
plaintiff in a federal civil action against another video game developer (SayGames LLC from
Belarus), for copyright infringement. This action is still in progress after being filed on August 4,
2020 in the United States Court of Appeals for the Ninth Circuit. Voodoo SAS v. SayGames, LLC,
No. 0:20-cv-16486. The action is an appeal from an action in the United States District Court for
the Northern District of California, which was dismissed on July 7, 2020, for lack of personal
jurisdiction. Voodoo SAS v. SayGames LLC, No. 5:19-cv-07480-BLF. The specific agent of
Voodoo is Jaime A. Santos, an attorney who is lead counsel for Voodoo's appeal. Her primary
office is in DC, and Stallard served process on her at her office in DC. The allegation is not that
Voodoo established contacts with the United States and purposely availed themselves of the

privileges of US law by filing a lawsuit here. (Although they did). The allegation is that, as a
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 9 of 67

company, Voodoo is present in the United States while they appear in United States courts as
plaintiffs in their civil action. Their presence in the U.S. is in the form of attorneys who represent
Voodoo in that lawsuit. As the plaintiff in this action, Voodoo knowingly and expressly consented
to the jurisdiction of the United States court and authorized these attorneys to represent them in
the United State courts. Stallard served process on Voodoo's lead attorney, not just in the United
States, but in DC. Thus, process was served on Voodoo while their company was present in the
United States before a US Court of Appeals in that civil action. This service of process establishes
personal jurisdiction over Voodoo. Fed, R. Civ. P. 4(k)(2). This service satisfies due process.

19. Also, under Fed. R. Civ. P. 4(k)(2), this Court has personal jurisdiction over
Voodoo because the claims arise under federal law (as described above); Voodoo is not subject to
the jurisdiction of any state court; Voodoo knew of Stallard’s trademark registration with the
United States Patent and Trademark Office (“USPTO”) and his game's copyright protection in the
United States, and continued to willfully infringe anyway by continuing to distribute their game to
the United States through United States companies (Google and Apple). Both Google Play and
the App Store have country-specific targeting, so Voodoo chose to distribute their infringing game
to the United States.

20. Jaime A. Santos is lead counsel for Voodoo's appeal before the United States Court
of Appeals for the Ninth Circuit. She was served at her office in DC, so this Court has personal
jurisdiction over the antitrust claims through the worldwide service of process provisions. 15
U.S.C. § 22. Voodoo is both found and has an agent (Santos) in DC, so this Court has personal
jurisdiction over the RICO claims through the nationwide service of process provisions. 18 U.S.C.

§ 1965(a). The ends of justice also require that this Court has personal jurisdiction over RICO
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 10 of 67

claims under 18 U.S.C. § 1965(b) based on this Court's personal jurisdiction over the initial
defendant, Goldman, under 18 U.S.C. § 1965(a), or vice versa.

21. This Court has personal jurisdiction over Voodoo for the RICO and antitrust claims
through nationwide and worldwide service of process, and this Court has pendent personal
jurisdiction over the other claims. They arise out of a common nucleus of operative facts with the
RICO and antitrust claims, and they are the same claims, but under different statutory and common
law liability. It would be in the interest of judicial economy and fairness to the litigants for the

court that tries the RICO claims to try all the claims.

Venue

22. The Court's personal jurisdiction over Goldman means they are “found” in this
district, and thus venue is proper for the antitrust claims under 15 U.S.C. § 22; the RICO claims
under 18 U.S.C. § 1965(a); the copyright claims under 28 U.S.C. § 1400(a); and the trademark and
other claims under 28 U.S.C. § 1391(b), in view of 28 U.S.C. § 1391(c)(2).

23. Goldman transacts business in this district, so venue is proper for antitrust claims
under 15 U.S.C. § 22; and RICO claims under 18 U.S.C. § 1963(a).

24. Voodoo is an alien corporation. Alien corporations may be sued in any judicial

district, and they are disregarded in the determination of venue for the other defendants. 28 U.S.C.

§ 1391(c)(3).

FACTUAL ALLEGATIONS

Trademark Infringement
25. On November 5, 2019, Plaintiff Stallard obtained a trademark registration (US

Registration No. 5,900,923) with the USPTO for the mark, Knocky Balls, for use on video games.

10
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 11 of 67

26. The first use of the Knocky Balls mark in commerce was when the Knocky Balls
video game was published by Osgoode Media on the Tizen Store on December 9, 2016, where it
remains to this day.

27, The Knocky Balls mark was first used in United States commerce when Knocky
Balls was published by Stallard on the Microsoft Store on December 28, 2016, where it remains
to this day. Knocky Balls was published by Stallard to Google Play on or before March 27, 2018.
Knocky Balls was published on the Amazon Appstore on May 5, 2018; and Game Jolt and itch.io
on June 23, 2018, where they remain to this day.

28. On August 10, 2018, Voodoo published a video game to the App Store (iOS) called
Knock Balls, and on September 19, 2018, they published Knock Balls on Google Play. The logo
for Knock Balls was remarkably similar to Knocky Bails with a ball hitting blocks with a splat
icon.

29. On December 12, 2018, Voodoo used a sock puppet account called “Mildred
~ Mullings” to give Knocky Balls a 2 out of 5 rating to damage its position in the Google Play store
visibility algorithm (This was its only rating) and scare away potential customers. Her review said,
“Game is silly know challenge.” Her profile photo was a woman behind the corner of a store. Her
name tag is not fully legible, but it does not appear to say Mildred.

30. OnDecember 26, 2018, Stallard applied for trademark registration with the USPTO
for Knocky Balls for use on video games, listing himself as the owner of the mark.

31. On June 24, 2019, Stallard filed with the USPTO an application for International
Registration with the World Intellectual Property Organization (WIPO) under the Madrid Protocol,

with France as the designated country.

1]
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 12 of 67

32.  OnJuly 11,2019, the USPTO certified the International Application for the Knocky
Balls mark, and they forwarded the application to the International Bureau (“TB”) of the WIPO.

33. Shortly after the application was approved for publication and forwarded to the IB,
Voodoo reported Knocky Balls to Google Play for violation of the impersonation policy, On July
13, 2019, Knocky Balls was removed from Googie Play.

34. Google Play's impersonation policy is "We don’t allow apps that use another app
or entity’s brand, title, logo, or name in a manner that may result in misleading users. Don’t try to
imply an endorsement or relationship with another entity where none exists."

35, On July 31, 2019, the USPTO issued the notice of publication for the Knocky Balis
mark. Also, on July 31, 2019, after Knocky Bails was removed from Google Play, Voodoo, using
a company called We Buy Apps (calling themselves the “webuyapps_team” using the website

https://webuyapps.top/), made an offer to buy Knocky Balls, and cited the Google Play link that

had been removed for over 2 weeks. The webuyapps.top website is no longer in use.

36. On August 29, 2019, the International Bureau of the WIPO registered the Knocky
Balls mark (Registration No. 1,484,378), and on January 16, 2020, the Institut national de la
propriété industrielle (INPI) in France issued a statement of grant of protection for the Knocky
Balls mark in accordance with Rule 18ter(1) of the Hague Agreement.

37. On November 5, 2019, the Knocky Balls mark was registered on the Principal
Register at the USPTO (Registration No. 5,900,923). Upon registration, Stallard placed the ®
symbol next to his uses of the Knocky Balls mark.

38. Voodoo's ads, for their games, infringed on, at least, the following trademarks
registered with the United States Patent and Trademark Office (USPTO): Aniosgel (Registration

No. 2,924,386), Disneyland (Registration No. 4,866,683), and Cleveland Cavaliers (Registration

12
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 13 of 67

No. 3,028,591); and the unregistered trademarks of Lebron James and a deceased YouTuber

named Etika. (The ad was “If you beat this level, Etika will come back to life.”)

Copyright Infringement
Games made with Unity are easy to copy.

39.  C# is a computer programming language. Compilers compile C# code into apps
(like Windows EXE files) or code libraries (like Windows DLL files).

40. Tools package these files into a single file, like an Android Package (APK) file or
a Tizen Package (TPK) file. Tizen is a mobile operating system (like Android or 10S) for Samsung
phones.

41. C#has a feature called “reflection.” Reflection refers to looking at a reflection in a
mirror. The C# code can see itself. Someone can get the original C# code from a compiled file
using reflection.

42. Unity is a popular video game engine. A game engine is the sofiware that game
developers use to create video games. Unity can create games for multiple platforms, including
iOS, Android, Windows and Tizen. Unity prides itself on being easy to use, even for people
without programming skills, so Unity is especially popular among indie developers.

43. Unity uses the C# programming language, so the someone can get the original
Unity C# code using reflection. Software can unpack an Android APK. or Tizen TPK. Windows
installers already unpack the files into a folder. A developer can easily get the original source code

and all the other files from a Unity game built for Android, Tizen or Windows.

13
Case 1:20-cv-02703-RBW Documenti1 Filed 09/18/20 Page 14 of 67

Some of Veodoo's history of copyright infringement, including Unity games

44, Voodoo's game, Hole.io, copied Donut Country, developed by indie developer Ben
Esposito for iOS, PC, PlayStation 4, Nintendo Switch and Xbox One. Esposito. Esposito made
Donut Country with Unity.

45. Voodoo's game, The Fish Master!, copied Ridiculous Fishing developed by indie
developer Viambeer for iOS and Android.

46. Voodoo's game, “The Cube - What's Inside ?”, copied “Curiosity — What's Inside
the Cube?” developed by indie developer 22Cans for iOS and Android. 22Cans made “Curiosity
~ What's Inside the Cube?” with Unity.

47. Voodoo's game, Infinite Golf, copied Desert Golfing developed by indie developer
Captain Games for Android, iOS, and Windows.

48,  Voodoo's game, Twisty Road!, copied Impossible Road and Super Impossible Road
developed by indie developer Kevin Ng for iOS and Android. Kevin Ng created Super Impossible
Road with Unity.

49. Voodoo's game, Dune!, copied Tiny Wings developed by indie developer Andreas
Illiger for iOS. In 2015, a developer posted the source code for a Tiny Wings clone on GitHub.
Dune was published by Voodoo in 2018.

50.  Voodoo's game, Paper.io, copied Slither.io developed by indie developer Steve
Howse for Android, iOS, and Windows.

51.  Voadeoo's game, Chilly Snow, copied “Powder - Alpine Simulator” developed by
indie developer Dave Chenell for iOS. Dave Chenell created Powder with Unity.

52.  Voodoo's game, Flappy Dunk!, copied Flappy Bird by indie developer dotGears

(Don Nguyen).

14
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 15 of 67

53.  Voodoo's game, Sloper, copied Sky Ball developed by Ketchapp.

54.  Voodoo's game, Good Slice, copied Fruit Ninja developed by Halfbrick Studios.

55.  Voodoo's game, Army Clash, copied Clash of Clans and Clash Royale developed
by Supercell.

56. | Voodoo’s game, Cube Surfer, copied Subway Surfer by Sybo Games. Subway
Surfer was made with Unity.

57.  Voodoo's ads for Army Clash used copyright infringing video of Clash Royale by
Supercell (US Copyright Registration No. PA 1-981-478). Clash Royale is a competitor’s video
game.

58.  Voodoo's ads used copyright infringing images of Walt Disney Pictures new castle
artwork by Disney (US Copyright Registration No. VAu 698-293) with the caption "If you dodge
50 bombs, you can go to Disneyland.” Voodoo's games do not award Disneyland trips to players.

59. Voodoo's ads used copyright infringing images of Andras “Hide the Pain Harold”
Araté owned by DreamsTime, and they showed the caption "I can't catch a shark :(" or “I can't
catch a kraken :(".

60. Voodoo's ads used copyright infringing images of Mickey Mouse by Disney
(multiple U.S. copyright registrations), and they showed the caption "If you survive 60 sec you
can go to Disneyland.” Again, Voodoo's games do not award Disneyland trips to players. Disney
did not make these images. One of the images showed Mickey Mouse with his anatomy showing.
The other image was a drawing of Mickey Mouse, not by Disney. Another image showed Mickey
with balding hair and holding a Mickey Mouse hat with ears, like found at Disneyland.

61. Voodoo's ads used copyright infringing images of Donald Duck by Disney

(multiple U.S. copyright registrations), and they showed the captions "If you swallow Big Ben,

13
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 16 of 67

you can go to Disneyland" or “If you survive 60 sec you can go to Disneyland." The image of
Donald Duck showed Donald with his anatomy showing. Disney did not make the image.

62. _Voodoo's ads used copyright infringing images of SpongeBob SquarePants by
Nickelodeon/Viacom (multiple U.S. copyright registrations). Some of these images were not
original SpongeBob images. One ad showed a picture of an anime version of SpongeBob with the
caption "I dare you to score 5 goals!" One ad showed SpongeBob with crying meme face drawn
on him and the caption "I can't swallow Big Ben." One ad showed an image of sad SpongeBob
with the caption "I can't reach pink color." Ads showed an image of SpongeBob out of breath with
one of the following captions: "Me after stacking 50 pieces", “Me after I’ve assembled 3 blocks in
arow" or “When you try to find the bottom"

63.  Voodoo's ads used copyright infringing images of Squidward Q. Tentacles from the
television show SpongeBob SquarePants by Nickelodeon/Viacom (multiple U.S. copyright
registrations). These were not authentic images. One ad showed a picture of Squidward with his
brain showing and the caption "No one has reached the ocean.” Another ad showed a sad
Squidward with the caption "I dare you to score 5 goals!"

64.  Voodoo's ads used copyright infringing images of Patrick Star from the television
show SpongeBob SquarePants by Nickelodeon/Viacom (multiple U.S. copyright registrations)
The ad showed Patrick Star with bloodshot eyes and the caption "If you score 50 you're legally
allowed to leave."

65.  Voodoo's ads used copyright infringing images of Morty from the television show
Rick and Morty distributed on Adult Swim by Cartoon Network owned by Warner Bros. (multiple
U.S. copyright registrations). The ad showed Morty with a frustrated look and the caption "I can’t

reach pick color."

16
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 17 of 67

66. | Voodoo's ads used a copyright infringing video of Guitar Hero by Activision
(multiple U.S. copyright registrations) for their game Stack Colors! Guitar Hero is a competitor’s
video game.

67.  Voodoo's ads used copyright infringing images of Google Maps owned by Google
with the caption “Real men don't get wet.”

68.  Voodoo's ads used copyright infringing images of Kim Jong Un (image owned by
Reuters) with the caption “Unlock all the weapons by nuking planets.”

69.  Voodoo's ads used copyright infringing images of an ACS International Singapore
classroom (photograph taken by Aditya Rathod) with the caption "If you score 50, you're legally
allowed to leave.”

70. Voodoo's ads used copyright infringing photos of LeBron James with the caption
"T dare you to score 5 goals!"

71. | Voodoo's ads used a copyright infringing copy of a TikTok video by an unknown

creator.

Direct evidence Knock Balls copied Knocky Balls

72. Stallard made Knocky Balls with Unity, and Voodoo made Knock Balls with Unity.
Stallard distributed Knock Balls on Windows (Microsoft Store, itch.io and Game Jolt), Android
(Google Play, Amazon Appstore) and Tizen (Tizen Store).

73. Voodoo only distributed Knock Balls on iOS (App Store) and Android (Google
Play). Voodoo did not distribute their games on Tizen.

74. Stallard unpacked Voodoo's APK for Knock Balls and found a Tizen.dil. The

Tizen.dil file is only needed for Tizen development. This file would not be there for Voodoo who

17
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 18 of 67

did not distribute on Tizen, but it would be in Stallard's Unity code because he did distribute his
game on Tizen. -

75. As described above, Unity games are easy to copy. Knock Balls copied Stallard's
Knocky Balls game, using the methods described above. The Tizen.dil was a leftover remnant of

the copying process.

Veodoo's Copyright Infringement

76. The United States Copyright Office registered the Unity version of Knocky Balls
(Registration No. PA 2-154-437) with Stallard as the author and claimant. The effective date of
registration is December 26, 2018.

77. On August 10, 2018, Voodoo published Knock Balls on the App Store, and on
September 19, 2018, they published Knock Balls on Google Play.

78. Voodoo publicly displayed Knock Balls on their website, social media, and ads.

Racketeering
Criminal Copyright Infringement
79. As described in the Copyright Infringement section of the Factual Allegations,
Voodoo's games infringed the copyrights of the other games, and Voodoo’s ads infringed
copyrighted material,
80. | Voodoo makes money from their copyright infringing games through in-game ads
and in-game purchases. Voodoo makes money from their ads by encouraging consumers to

download their games.

Trafficking in Goods with a Counterfeit Mark

81. See the Trademark Infringement section above.

18
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 19 of 67

Wire Fraud
Voodoo's Knock Balls fraudulently violated of Google and Apple policies

82. Google Play’s Developer Program Policy forbids trademark infringement and
copyright infringement. It states, “When developers copy someone else’s work or use it without
required permission, it might harm the owner of that work. Don't rely on unfair use of other
people’s work.”

83. The App Store Review Guidelines also forbid trademark infringement and
copyright infringement. The App Store's “Intellectual Property” guidelmes state, “Don’t use
protected third-party material such as trademarks, copyrighted works, or patented ideas in your
app without permission.”

$4. The App Store's “Copycats” guidelines state, “Come up with your own ideas. We
know you have them, so make yours come to life. Don’t simply copy the latest popular app on the
App Store or make some minor changes to another app’s name or UI and pass it off'as your own.”

85. Voodoo knew their Knock Balls game infringed on Stallard's Knocky Balls (See
Counts 1-3 and 6), and they still distributed Knock Balls on both Google Play and the App Store
in knowing violation of their content policies.

86. Voodoo uploaded infringing versions of Knock Balis to the App Store, and the App
Store released those versions on the following dates: August 10, 2018; September 6, 2018;
September 16, 2018; September 21, 2018; October 3, 2018; October 11, 2018; November 5, 2018;
November 16, 2018; November 22, 2018; December 17, 2018; December 26, 2018; January 11,
2019; January 25, 2019; February 21, 2019; April 8, 2019; April 16, 2019; May 20, 2019; July 11,

2019; Jul 30, 2019; September 3, 2019; June 3, 2020; and September 1, 2020.

19
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 20 of 67

87. Voodoo uploaded infringing versions of Knock Balls to Google Play, and Googie
Play released those versions on the following dates: September 19, 2018; October 19, 2018;
October 29, 2018; November 16, 2018; November 22, 2018; December 17, 2018; December 26,
2018; January 11, 2019; January 25, 2019; February 25, 2019; April 8, 2019; April 16, 2019; May
20, 2019; July 30, 2019; September 4, 2019; February 4, 2020; April 3, 2020; April 10, 2020; and

May 27, 2020.

Voodoo posted a fake negative review for Knocky Balls.

88. Then, Voodeo took their scheme a step further. On December 12, 2018, Voodoo
used a fake Google account with the name “Mildred Mullings” to give Knocky Balls a 2 out of 5
rating on Google Play. This bad rating damaged the position of Knocky Balls in the Google Play
store visibility algorithm. This was the only rating for Knocky Balls. The bad rating scared
potential customers from Knocky Balls to Voodoo's Knock Balls.

89, Google Play's review policy forbids posting fake reviews. It says, “Don't post fake
or inaccurate reviews”; “Don't posi reviews to mislead other users or manipulate the rating.”; and
“Don't misrepresent your identity or your connection to the content you're reviewing.”

90. The fake reviewer pretended to be Mildred Mullings, but Mildred Mullings died in

October 2015. The fake reviewer used broken English in the comment, “Game is silly know

challenge.”

Voodoo fraudulently manipulated installs, reviews, and ratings
91. A “click farm” is a place with many cell phones or devices. Click farm workers
operate multiple devices. The users of the devices can rate and review apps/games, install

apps/games, click ads or anything else the customer needs them to do. Companies operate click

20
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 21 of 67

farms in countries where labor and devices are cheap. Customers can purchase ratings, reviews,
installs, ad clicks, etc. from click farms.

92. A “bot” is a computer program that can automatically perform an activity, like
rating a video game on Google Play. A bot can post fake reviews and ratings for a video game.
They can even generate the text of the review. Bots can even download and install games to a
hardware Android or iOS device, or even an emulated hardware device in software.

93. Google Play and the App Store use algorithms to determine which games to feature
on the front page of their store and at the top of their search results. These algorithms look at
installs, reviews, and ratings to determine visibility. Google and Apple especially look for trending
games. A game is trending when it has a lot of installs and high ratings in a short period of time.

94. Bots and click farms can boost the visibility of a game through fake ratings,
reviews, and installs, They can trick the store into thinking a game is trending. The trending status
boosts the visibility of the game in the store. The increased visibility leads to actual installs. The
installs lead to more visibility.

95. Voodoo's website used to say, “We are experts at buying cheap installs in big
numbers.” They removed the text after a reporter quoted it. Voodoo also described the first step
in their strategy for success as “buying users as cheaply as possible.”

33 6G

96. Voodoo admitted to buying installs “in big numbers” “as cheaply as possible.”, and
Voodoo used these installs to trick Google and Apple into thinking their games were trending.
These fake installs lead to more visibility in the stores and more actual installs.

97. The fake review Voodoo posted for Stallard’s game was not the only fake review

Voodoo posted. As an example of their fake reviews, on January 1, 2020, a user posted a 1-star

review that said, “I can't stand all the stupid pop-up commercials that won't go away.” Then, on

2]
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 22 of 67

the same day, Voodoo posted a 5-star fake review that said, “Not very many ads.” This was the
next review. Voodoo’s games are bloated with intrusive ads, A real player would never post that
review. The timing and the bad English of the review gives it away.

98. Also, Voodoo incentivized users to give their games 5-star reviews in exchange for
free in-game items, in violation of Google Play and App Store policies.

99. Google Play’s policy is, “Developers must not attempt to manipulate the placement
of any apps in Google Play. This includes, but is not limited to, inflating product ratings, reviews,
or install counts by illegitimate means, such as fraudulent or incentivized installs, reviews and
ratings.” Under examples of common violations, Google lists “Asking users to rate your app while
offering an incentive” and “Repeatedly submitting ratings to influence the app’s placement on
Google Play.”

100. Apple’s App Store policy states, “If you attempt to cheat the system (for example,
by trying to trick the review process, steal user data, copy another developer’s work, manipulate
ratings or App Store discovery) your apps will be removed from the store and you will be expelled
from the Developer Program.” It also states, “If we find that you have attempted to manipulate
reviews, inflate your chart rankings with paid, incentivized, filtered, or fake feedback, or engage
with third-party services to do so on your behalf, we will take steps to preserve the integrity of the

App Store, which may include expelling you from the Developer Program.”

Voodoo fraudulently had Google remove Knocky Balls from Google Play.
101. On July 11, 2019, the USPTO certified Stallard's international trademark
application for Knocky Balls for filing with the WPO. Almost immediately after, Voodoo falsely

reported Knocky Balls to Google Play for impersonation of Knock Balls.

ho
Ne
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 23 of 67

102. On July 13, 2019, Google Play removed Knocky Balls from the store for violation
of their impersonation policy. This violation puts Stallard's Google developer account at risk for a
permanent ban.

103. On July 31, 2019, the USPTO issued the notice of publication for the Knocky Balls
mark. Also, on July 31, 2019, after Knocky Balls was removed from Google Play, Voodoo, using
a company called We Buy Apps (calling themselves the “webuyapps_team” using the website
https://webuyapps.top/), made an offer to buy Knocky Balls, and cited the Google Play link that

had been removed for over 2 weeks. The webuyapps.top website is no longer in use.

Voodoo did not remove ads from their games when users paid.

104. Knock Balls and other Voodoo games use a library called "VoodooSauce."

105. The VoodooSauce library has the code for "in app purchases” (purchases made by
the players while they are playing the game), and code for deciding whether to display
advertisements during the game.

106. In the VoodooSauce library there is an option for players to pay money to remove
advertising from the game.

107. However, the only way the code turns off the advertising is when the in-app
purchase is made.

108. This only occurs during the current session. Once the player ends the game, the
advertising is no longer removed. However, the player is expecting their payment to permanently
remove the advertising every time the player plays the game.

109. Thus, many players have been tricked into paying to remove ads, and this is shown
by the many reviews of the game where players complain about paying for the "no ads" option and

still seemg ads.

23
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 24 of 67

110. Many reviews of the game where players complain about paying for the "no ads"
option and still seeing ads.

111. This trickery is present in all of Voodoo's games that use the VoodooSauce library.
Voodoo bombarded their games with excessive ads to the point of almost being unplayable, and

then tried to get players to pay money to have the ads removed, but they ads were not removed.

Voodoo fraudulently claims their games are multiplayer when they are not.

ees 9?

112. An “io” game is an online multiplayer video game. “io” refers to YO. I/O means
input/output. This refers to internet communication. Players assume a game with “io” or “io” in
the title is an online multiplayer video game that they can play with their friends or other human
players.

113. Voodoo publishes the at least following “io” games: Hole.io; Paper.io; Paper.io 2;
Paper.io 3D; Ladder.io; Snaker.io; Bumper.io; Farmers.io; and Snack.io.

114, These games are represented as “io” games, but they are not online multiplayer
games. The games are multiplayer, but the players are computer players. Voodoo gets the

usernames of the players from a web page that lists “cool” nicknames.

https://pairediife.com/friendship/cool nicknames.

Bribery in Violation of the Foreign Corrupt Practices Act and Travel Act

115. iMalaysia Development Berhad (“1MDB”) is a wealth management company run
by the government of Malaysia. After 1MDB's involvement with Goldman Sachs, it is now
insolvent.

116. Tim Leissner was employed by Goldman Sachs between April 1998 and March
2016.

117. During that time, Tim Leissner was a national and resident of the United States.

24
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 25 of 67

118. On August 28, 2018, in the United States Courthouse in Brooklyn, New York
(United States District Court for the Eastern District of New York), Timothy Leissner plead guilty
to conspiracy to violate the Foreign Corrupt Practices Act (“FCPA”) and conspiracy to commit
money laundering. These acts were during his time as an employee of Goldman.

119. These violations took place between January of 2009 and October of 2014.

120. In his confession to the Court, Leissner admitted: "IMDB was a strategic
investment and development company wholly owned and controlled by the Government of
Malaysia. As] understood, IMDB was created to pursue investment and development projects for
the economic benefit of Malaysia and its people. While acting within the scope of my employment
and with the intent to benefit Goldman and myself, as an employee and agent of Goldman Sachs,
I entered into a conspiracy with those individuals identified in the Government's information to
pay bribes and kickbacks to obtain and then retain business from IMDB for Goldman Sachs. The
goal of paying bribes and kickbacks was to influence the government officials to take official
action so that Goldman Sachs would receive business from 1 MDB. I took part in the process of
paying some of these bribes and kickbacks. I also knew that some of the funds that would be used
to pay bribes and kickbacks to government officials would move through the U.S. banking
system,”

121. Leissner also admitted to the Court, “During the course of the conspiracy, |
conspired with other employees and agents of Goldman Sachs very much in line of its culture of
Goldman Sachs to conceal facts from certain compliance and legal employees of Goldman Sachs.”
He also admitted that he “received large year-end bonuses as an employee and agent of Goldman
Sachs.”

122. Goldman raised $6.5 billion for 1 MDB through three bond sales in 2012 and 2013.

25
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 26 of 67

Bribery of U.S. Public Officials

123. Goldman Sachs has the nickname “Government Sachs” because of their reputation
for bribing high level government officials.

124. Goldman hired Henry M. “Hank” Paulson at 1974. He became Chairman and CEO
of Goldman in 1999, On May 4, 1999, under Paulson, Goldman went public with their initial public
offering (“IPO”) of stock.

125. On May 30, 2006, George W. Bush nominated Paulson as U.S. Secretary of the
Treasury. Paulson took office on July 10, 2006.

126. In July 2006, Henry Paulson sold 3.23 million shaves of Goldman worth $491
million. He did not pay any taxes. This tax break saved him roughly $200 million.

127. Paulson also received an $18.7 million bonus in 2006, despite working roughly half
of the year.

128. At the time, Paulson had restricted stock units (““RSUs”) representing 494,054
shares of common stock. When Paulson became Treasury Secretary, Goldman prematurely vested
60% of Paulson's 2004 RSUs and 75% of his 2003 RSUs. A total of 328,834 of his 494,054 shares
were accelerated. At the listing price of $152.50, that is over $50 million.

129. Insurance is highly leveraged. A $1 million life insurance policy can cost as low as
$1 a day because it is not likely to pay out.

130. Acredit default swap is a type of insurance. It pays out on a “credit default.” Credit
default swaps (“CDS”) are often bought on large bundles of mortgages called mortgage backed
securities (“MBS”). An MBS can be part of a larger collateralized debt obligation (“CDO”). In

an MBS, the mortgage payments are used. to pay the investors. The investors are grouped into

26
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 27 of 67

tranches. The highest tranches, AAA, or super senior, get paid first, and then the less senior AA
tranches, etc.

131. A CDS is highly leveraged, sometimes even 1000-1. Even in 2008, in the middle
of the housing crisis, less than 2 percent of homeowners defaulted. The senior and super senior
tranches were still getting paid. How can someone fix the game to get paid on those 1000-1 odds,
when most people are still paying their mortgage?

132. They can create their own CDO -- called a “synthetic”? CDO. A synthetic CDO is
not tied to actual mortgage payments. It is tied to the performance of an actual CDO or MBS —
called a reference security. If the CDO drops in value, then the credit default is triggered, and the
CDS pays out. The owner of the synthetic CDO does not need people to default on their mortgage.
They only need to devalue the reference security.

133. The banks that offer these synthetic CDOs use “fair value accounting” or “mark to
market.” In other words, they mark the price or value of a CDO at what they consider the market
value of the CDO. Many of these CDOs are new, and they do not have a market history to
determine their market value. Insurance companies rely on the honesty of the bank to give a
realistic value of the CDO. A bank could drop the market value of a CDO on a whim. That drop
in value would trigger a credit default on the synthetic CDO that references that CDO. That default
would trigger a pay out on the CDS, or it might trigger a “collateral call.” The insurance contract
can require the insurance company to post more collateral to cover the possible losses.

134. A CDS is highly leveraged like life insurance. Even the most solid life insurance
company could not handle a situation where most of their customers were making claims. If they
could, a $1 million life insurance policy would cost $500,000 to $1 million, and nobody would

buy it. The insurance company models price the insurance based on the likelihood of a claim,

27
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 28 of 67

among other things. Even the most solid insurance companies are not prepared for an unexpected
large scale “run” on claims.

135. A bank could artificially mark the prices of a CDO to below market value to get the
1000-1 payout on the CDS. It would only work if they knew the insurance company could handle
arunon CDS claims. It would work if they knew the insurance company would get bailed out by
the federal government.

136. That is what Goldman did in 2008. They artificially slashed the market values of
CDOs. Then they made collateral calls on the credit default swaps issued by American
International Group (“AIG”). They encouraged other companies to do the same. This caused AIG
to fail and triggered highly leveraged payouts by AIG to Goldman. Goldman had plenty of their
people in the government to guarantee that AIG would get bailed out, and Goldman would get paid
100 cents on the dollar. Hank Paulson ran the show as Treasury Secretary.

137. Joseph St. Denis, an accountant at AIG Financial Products (“AIGFP”), saw it
happening, and he tried to intervene. But the head of AIGFP, Joe Cassano “deliberately excluded”
St. Denis from doing his job, St. Denis described watching AIG go down, “When I found out
about the collateral call, I literally had to sit down. 1 had to go home for the day.” He did not
know what Cassano knew. He did not know that Paulson would make sure AIG got a bailout.

138. Goldman also had public officials in high places to guarantee that they would not
be punished for what they did. Goldman's Chief Financial Officer (“CFO”), David Viniar barely
held back his laughter while he answered questions before the Financial Crisis Inquiry
Commission (“FCIC”). Congress appointed the FCIC to investigate the crisis. The FCIC members

were baffled at Goldman's explanations about how they priced their CDOs well below market

28
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 29 of 67

value and how Goldman were able to get paid 100 cents on the dollar by the government for their
for their 1000-1 leveraged credit default swaps.

139. That AIG bailout is one of the public acts by Paulson. To this day, the Shortfall
Agreement for AIG bailout is still confidential. There is no reason. All the assets were sold a long
time ago, but that agreement has information about Goldman that they do not want the public to
see.

140. In 2008, during the crisis, the Federal Reserve allowed Goldman to become a bank

holding company, and now they have access to the discount window at the Federal Reserve.

Money Laundering
Goldman laundered money to bribe Malaysian officials in the LMDB scandal.

141. On August 28, 2018, in the United States Courthouse in Brooklyn, New York
(United States District Court for the Eastern District of New York), Timothy Leissner pleaded
guilty to conspiracy to violate the Foreign Corrupt Practices Act (““FCPA”) and conspiracy to
commit money laundering. These acts were during his time as an employee of Goldman.

142. Leissner admitted that Goldman used the U.S. banking system to send money to
bribe Malaysian officials. These violations took place between January of 2009 and October of

2014.

Goldman laundered money to fund Voodoo’s criminal activity.

143. West Street Capital Partners VII, LP (CIK#: 0001691419) is a Delaware limited
partnership with its principal place of business at 200 West Street, New York, NY 10282 (also
Goldman's principal place of business). West Street Capital Partners VI, L.P. incorporated in
Delaware on October 10, 2016. Their registered agent is Maples Fiduciary Services (Delaware)

Inc.

29
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 30 of 67

144. On December 21, 2016, Goldman filed a Form D with the Securities and Exchange
Commission (“SEC”) for the offering of exempt securities for West Street Capital Partners VII,
L.P. The securities were pooled investment fund interests. The reported amount sold was $2.5
billion. The total reported amount sold by West Street and its parallel entities was $4.5 billion.
Goldman reported the first sale of West Street securities as December 9, 2016. (Goldman’s
headquarters are on 200 West Street in New York City.)

145. The other entities were West Street Capital Partners VII - Parallel, L.P. (Delaware);
and West Street Capital Partners VII Offshore, L.P. (Cayman Islands}. West Street Parallel
reported $55.65 million sold on their Form D. West Street Offshore did not file a Form D, but
they likely sold the remaining $1.94 billion of the $4.5 billion total.

146. West Street Capital Partners VII is directed by Maples Fiduciary Services
(Delaware), who also has a Cayman Islands company, Maples Fiduciary Services (Cayman).

147. West Street Capital Partners VII is funded by 867 unknown investors. The
accredited investor status of these investors allows West Street Capital Partners VII to avoid
reporting to the SEC, despite raising what is believed to be over $7.2 billion over the life of the
investment vehicle.

148. Compensation from West Street Capital Partners VII goes to Goldman Co, which
is a subsidiary of Goldman Group.

149. A May 28, 2018 press release issued by Goldman and Voodoo stated, “Goldman
Sachs — through its West Street Capital Partners VI fund — becomes Voodoo’s reference
shareholder alongside the Founders who remain majority owners of the company.”

150. On November 13, 2019, Voodoo filed a disclosure statement, under Fed, R. Civ. P.

7.1, with the US District Court for the Northern District of California. They provided this certified

30
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 31 of 67

statement, “Plaintiff Voodoo SAS ("Voodoo") identifies the following corporation owning 10%
or more of Voodoo's stock: Goldman Sachs Group, Inc."
151. Thus, Goldman funded Voodoo through West Street and Maples in the Cayman

Islands.

Antitrust

The free hyper-casual mobile video games market is a valid antitrust market.

152. Video games can be divided into 2 categories: casual games and hardcore (or core)
games. Casual games are easy to learn and play, and they do not require a large commitment. On
the other end of the spectrum, core games have a higher barrier to entry, and they can require a lot
of time, atiention, and even hardware costs. A hyper-causal game is even further on the spectrum
than a casual game. They are designed to be played by anyone on a mobile phone, so the player
might not have much time or attention to spend on the game.

153. These types of games are designed for different situations and are not realistically
interchangeable. Desktop computer games and console video games cannot be realistically
substituted for mobile video games. The devices are different. Paid mobile games cannot be
realistically substituted for free mobile games. They are separate categories on the stores, and they
are reported separately. Android phones do have the option to load games that are not from Google
Play, but there are barriers. Android games from other stores cannot be realistically substituted

for games on Google Play.

The market is highly fragmented and difficult to enter.
154. The mobile video game market is highly fragmented. There are roughly 350,000
video games on Google Play and 957,000 video games on the App Store.

155. However, any search of Google Play is limited to the top 200 results.

31
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 32 of 67

156. The Google search engine is also limited to 200, but few people navigate to page
20 to find out.

157. There are 350,000 video games vying for 200 spots, and like the Google search
engine, most people do not see all 200 games. Many indies cannot even find their own game in
Google Play on a search of the exact title.

158. Most games are free to play, so consumers do not shop for games. They download
what they see on the front page.

159. Itisa paradox. A game needs to be a top game to be discovered, but it needs to be
discovered to be a top game. Unless the game is featured on the news like Pokémon Go, discovery
mainly comes from paid ads, but most developers do not have the money to buy enough ads to get
discovered.

160. The actual barriers to publishing a game on Google Play are low. (They are higher
for the App Store because it requires a macOS computer, a $100 annual fee, and a more stringent
review process.) The barrier to getting people to play (or even view) the game is high.

161. Companies with a lot of money can buy their way to the top with ads. When they
get there, it is a self-perpetuating loop. They get more downloads because they are at the top, and
then those downloads cause them to stay and the top, which gets them even more downloads.

162. In Q3 of 2019, the top 1 percent of publishers had 9.1 billion downloads out of the
total 11.1 billion mobile game downloads in Google Play and the App Store. (82 percent). There
were 108,000 publishers. The 445 publishers in the top 1 percent grossing companies generated

$15.5 billion of the $16.3 billion revenue from in-app purchases. (95 percent)

32
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 33 of 67

Goldman is a giant in a market of pygmies

163. The 4 largest public companies in the world by market cap are Apple, Microsoft,
Amazon, and Alphabet (Google), Goldman Sachs has more asset dollars (61.142 trillion) than all
of them combined.

164.  1n December 2019, Goldman Sachs pledged $1.1 trillion to environmental causes
by 2030. That commitment would be large by U.S. Congress standards, and the United States is
largest economy in the world. Goldman emphasized that it will not pass up any significant amount
of revenue because of this commitment. This gives an idea about just how large Goldman is.

165. A world leader commented to them, “If you had a flag, you’d be a country.” They
have the economy of a large country, but only 38,000 employees,

166. Goldman's enormous size dwarfs any company the video game industry. Activision
Blizzard is the largest titan in the industry, but they have less than 2 percent of the total assets of
Goldman Sachs ($19.8 billion). Activision Blizzard is not a mobile video game company, like
Voodoo. The largest is Zynga. Zynga has 0.2 percent of the total assets of Goldman Sachs ($2

billion).

Goldman helped Voodoo dominate the market.

167. On May 28, 2018, Goldman and Voodoo announced Goldman invested roughly
$200 million in Voodoo, and Goldman became the reference shareholder. Goldman invested in.
Voodoo through West Street. They only announced Goldman became the reference shareholder
in 2018. They did not announce when Goldman began investing in Voodoo.

168. West Street incorporated in October 2016. Voodoo went from revenues of €1.13
million ($1.3 million) in 2016 to €71 million ($84 million) in 2017 to €325 million ($385 million)

in 2018. If Goldman announced their investment in Voodoo in 2016, it would bad. It would look

33
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 34 of 67

like Goldman’s investment in Voodoo caused Voodoo’s revenues to go from $1 million to $84
million in 1 year. Goldman and Voodoo announced their combination in 2018, but the
combination began in 2016. Voodoo skyrocketed from $1 million to $84 million because of
Goldman’ s funding. Goldman’s funding allowed them to buy large number of ads and clone many
games. Otherwise, they would be like other indies — struggling to use their revenues to fund the
development and promotion of their next game. Not even the largest game studios (called AAA
studios) can fund multiple games from the revenues of a single game, even if the game is a hit.

169. In November 2017, Voodoo and Ketchapp had 48 percent of all arcade game
downloads on the App Store. At that point, Voodoo had 11 games that year that were in the top
10 overall on Apple’s App Store.

170. By the end of 2018, Voodoo's portfolio of games had reached 1.5 billion downioads
with 64 games, 46 of the games were in 2018. In June 2018, among games in the Top 100 US Free
Game charts, Voodoo accounted for 24.7 percent of all free game downloads. In that month,
Voodoo had 18 games in the top 100.

171. For the year 2018, Voodoo was already number 3 in most mobile app downloads
behind Google and Facebook, and number 1 in most mobile game downloads, even topping long-
time video game titans like Ubisoft (founded in 1986), Electronic Arts (founded in 1982), and
Activision Blizzard (founded in 1979).

172. Voodoo's number of downloads grew over 50 percent m the last 4 months of 2018
(to 1.5 billion total) - shortly after Goldman Sachs became the chief shareholder. As of Q2 of
2019, Voodoo was still number 3 in total app downloads and number | in total game downloads,
and in April 2019, they had passed 2 billion downloads. In other words, they went from 1 billion

to 2 billion in 8 months shortly after Goldman officially acquired them.

34
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 35 of 67

173. There were 10 hyper-casual games in the Top Free Charts in Apple’s Best of 2019,
The Year’s Top Games. Voodoo had 5 out of the 10 games.

174. On Sept 17, 2020, Voodoo had 3 of the 5 hyper-casual games in the top 8 free
arcade games on Google Play.

175. Voodoo currently has 3.7 billion downloads and 300 million monthly active users.

Twitter has 330 monthly active users.

COUNT 1
(Voodoo)
Willful Trademark Infringement
15 U.S.C. § 1114)

176. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

177. Voodoo has been using the Knock Bails mark on their mobile video game. This
infringes on StaHard's Knocky Balls mark, which was used in commerce prior to Voodoo's use of
Knock Balls. On November 5, 2019, Stallard registered Knocky Balls with USPTO (US
Registration No. 5,900,923), for use on video games, including mobile video games, and, next to
the uses of the Knocky Balls mark, Stallard put a symbol with the letter R enclosed within a circle,
thus ®. This symbol notified Voodoo of Stallard's registration and satisfied the requirements of 15
U.S.C § 11. The Knocky Balls mark is still in use on video games and mobile games, even for
Android devices, despite Voodoo having Knocky Bails removed from Google Play based on its
“impersonation” of Voodoo's own infringing Knock Balls mark.

178. 15 U.S.C. § 1114(1) includes 3 types of trademark infringement violations: likely

to confuse, likely to cause mistake and likely to deceive. Voodoo used their Knock Balls to deceive

35
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 36 of 67

a Google employee who mistakenly removed Stallard's Knocky Balls game for infringing on
Voodoo's Knock Balls mark.

179, Both marks were and are used on mobile video games, even in the same store,
Google Play, and these games are marketed to the same hyper-casual gaming audience, in
particular mobile game players. These hyper-casual mobile video games are free games who make
their money on advertisements and in-game purchases. The free nature means that they are impulse
downloads by ordinary consumers with little to no scrutiny before downloading the games.
Knocky Balls is a fanciful term that does not appear in the dictionary. It was coined for the specific
purpose of being used as a trademark for the video game. Knock Balls is almost the same as
Knocky Balls.

180. Furthermore, Voodoo's Knock Balls game is bloated with ads that are often
unavoidable. They allow users to pay $5 to remove these ads, but the ads still show anyway.
Voodoo’s use of Knock Balls did not just tarnish the goodwill of Knocky Balls, but Voodoo
removed the game entirely from Google Play. Stallard is entitled to Voodoo's profits from Knock
Balls. 15 U.S.C. § LIE (a).

181. Voodoo not only knew about the Knocky Balls mark, but they gave it a bad review,
had it removed from Google Play, and then tried to buy it.

182. The two marks are almost the same, and Voodoo's game even infringes on Knocky
Ball's copyright. The logos for both games show a ball knocking down blocks with a cartoon effect.
The similarity of the logos also shows that the trademark infringement of the Knock Balls was
willful.

183. Furthermore, both Google Play and the App Store prohibit trademark infringement,

and they remove games that violate that policy. Stallard's game was removed based on that policy.

36
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 37 of 67
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 38 of 67

Voodoo would not publish a Knock Balls game to those stores without at least an internet search
and a Google Play search for Knock Balls. Both searches would reveal the Knocky Bails game.
Stallard obtained a verified Knowledge Panel with Google for Knocky Balls on July 10, 2018.
Voodoo first published Knock Balls in August 2018. A Google search for Knock Balls would

show the Knocky Balls knowledge panel.

COUNT 2
(Voodoo)

Willful Violation of 15 U.S.C. § 1125(a)

184. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

185. Starting in December 2016, Stallard distributed his Knocky Balls video game
worldwide through the Microsoft Store, Tizen Store, Google Play, Amazon Appstore, itch.io and
Game Jolt. Then, in August 10, 2018, Voodoo distributed a copyright infringing video game called
Knock Balls worldwide through the App Store and later Google Play. (The copyright infringement
is discussed in other counts). The marks are almost the same. Count 1 describes how Voodoo's
Knock Balls mark did (and is likely to) confuse, cause mistakes, and deceive. Stallard is entitled

to Voodoo's profits from Knock Balls. 15 U.S.C. § 1117(a).

COUNT 3
(Voodoo)
Willful Counterfeiting

15 U.S.C. § 1117

186. Plaintiff Stallard realleges and incorporates by reference each of the allegations set

forth in the rest of this Complaint.

37
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 39 of 67

187. Stallard registered Knocky Balls on the principal register of the USPTO (US
Registration No. 5,900,923) on November 5, 2019 for use on video games, including mobile video
games. Voodoo used the Knock Balls mark from August 2018 to the present.

188. Knock Balls is a counterfeit of Knocky Balls. A counterfeit is a spurious mark
which is identical with, or substantially indistinguishable from, a registered mark. 15 U.S.C.
§ 1127. Congress included “substantially indistinguishable” in the statute to prevent counterfeiters
from escaping liability by changing the mark in trivial ways. Voodoo changed the Knocky Balls
mark to Knock Balls to escape liability. This was a trivial change, so Knock Balls is still a
counterfeit of Knocky Balls.

189. Knock Balls is a counterfeit mark of Stallard’s registered Knocky Balls mark, even
if Voodoo did not know it was registered with the USPTO. 15 U.S.C. § 1116(d)(1)(B). Voodoo
did know it was registered. On July 11, 2019, the USPTO certified the International Application
for the Knocky Balls mark, and they forwarded the application to the IB of the WIPO. Then
Voodoo reported Knocky Balls to Google Play for violation of the impersonation policy. On July
13, 2019, Knocky Balls was removed from Google Play. On July 31, 2019, the USPTO issued the
notice of publication for the Knocky Balls mark. Also, on July 31, Voodoo tried to buy Knocky
Balls under a false alias and cited the dead link te Knocky Balls on Google Play.

190. Voodoo used the counterfeit Knock Balls mark, so they are liable for $1000 to
$200,000 in statutory damages. 15 U.S.C. § 1117(c)(1). Voodoo's use was willful (see Count 1),
so they are liable for up to $2 million in statutory damages. 15 U.S.C. § 1117(c)(2). Alternatively,
Voodoo is also liable for treble damages for their willful infringement. 15 U.S.C. § 1117(b)(1).

The treble damages are based on Voodoo's profits from Knock Balls. 15 U.S.C. § 1117(a).

38
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 40 of 67

COUNT 4
(Goldman Sachs)
Contributory Trademark Infringement and Counterfeiting

15 U.S.C. §§ 1114(1), 1117 and 1125(a)

191. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

192, Voodoo's Knock Balls mark infringed Stailard's Knocky Balls mark. (See Counts
1-3). Goldman is an experienced investment bank and underwriter. On May 28, 2018, Goldman
invested almost $200 million in Voodoo and became a chief shareholder. Goldman backs the
Apple Card credit card. The Apple Card has a credit limit as low as $250, but Goldman still denies
applicants. Goldman manages almost $2 trillion in assets, yet they will not give some people a
$250 credit card. Goldman is careful about their investments and operations. Voodoo is stealing
games from indies. Goldman knew Voodoo infringed on intellectual property, and Goldman
funded Voodoo's infringement. Goldman willfully funded Voodoo's infringement of Stallard's

trademark.

COUNT 5
(Goldman Sachs)
Vicarious Trademark Infringement and Counterfeiting

15 U.S.C, §§ 1114(4), 1117 and 1125(a)

193. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.
194. Voodoo's Knock Balls mark infringed Stallard's Knocky Balls mark. (See Counts

1-3). Goldman is the chief sharcholder in Voodoo. Goldman profited from Voodoo's infringement

39
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 41 of 67

of Stallard's trademark. Goldman knew Voodoo infringed on the intellectual property of indies,
like Stallard, and Goldman did not try to stop them. In fact, Goldman still funded Voodoo. Plaintiff

Stallard incorporates by reference the facts alleged in paragraphs 1-19.

COUNT 6
(Voodoo)
Willful Copyright Infringement

17 U.S.C. § 501 (2)-(b)

195. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

196. Stallard created the Knocky Balls video game as Crazy Balls. On September 25,
2016, he published Crazy Balls on Google Play. In December 2016, he changed the name to
Knocky Balis. On December 26, 2018, Stallard registered Knocky Balls with the United States

Copyright Office (Registration No. PA 2-154-437) with himself as the author and claimant.

Direct Evidence of Copying
197. As describe above, Knock Balls and Knocky Balls were both made with the cross-
platform Unity game engine. Unity games are easy to get the code and game files. Stallard
distributed his Knocky Balls game on Tizen, and Voodoo only distributed Knock Balls on the App
Store and Google Play. Stallard unpacked Knock Balls and found a “tizen.dil.” This shows that

Knock Balls used Stallard’s Unity code for Knocky Balls.

40)
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 42 of 67

Indirect Evidence of Copying

198. Knocky Balls was available worldwide for digital download on major video game
marketplaces, including Android (Google Play, Amazon Appstore), Tizen (Tizen Store) and
Windows (Microsoft Store, itch.io, Game Jolt).

199, The title of Knock Balls is almost the same as Knocky Bails. Both logos are similar.
(a ball hitting 3D biocks with a cartoon splat effect.) They were both distributed in Google Play.

200. Knocky Balls and Knock Balls both similar in at least the following ways. They are
mobile video games with a first-person 3D view of stacks of 3D blocks. A 3D sphere (ball) is
launched towards the blocks. The ball topples the blocks with realistic physics effects. There are
multiple levels starting with Level 1 and progressing in increments of 1 to Level 2, Level 3, etc.
The current level is displayed at the top of the screen. The current score is also displayed the top
of the screen. Toppling stacks of blocks increases the score. The blocks stack again when they are
toppled. The level is complete when the player gains enough points. At the top of the screen, the
display shows the progress towards finishing the current level. The more points gained, the closer
the player is to finishing the level. At the top of the screen, there is a button to exit the game. The
levels display different scenes. One level has a blue-sky background. Another level has a reddish
sky background. Another level has dark blue starry sky/space background. The have a block
pyramid with 1 block stacked on 2 blocks stacked on 3 blocks. Thus, the gameplay and the overall
look, concept and feel of the games are the same.

201. Knock Balls and Knocky Bails were in the same marketplace, had similar logos
and almost identical titles. The similar audiovisual material between the games would not be

expected to arise independently. The title is arbitrary and fanciful, and would not be expected to

41
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 43 of 67

arise independently, especially when attached to such a similar game. It could not be a coincidence.

Thus, Knock Balls copied Knocky Balls.

Copyright Infringement

202. Stallard has the exclusive right to distribute copies of Knocky Balls, 17 U.S.C. §
106(3), and to display Knocky Balls publicly. 17 U.S.C. § 106(5). Voodoo's distribution and public
display of Knock Balis infringes on Staliard's copyrights. 17 U.S.C. § 50i(a). Voodoo publicly
displayed Knock Bails on their website, social media, and ads. Voodoo distributed Knock Balls
on Google Play and the App Store.

203. Actionable copyright infringement is net limited to exact copying. Bootleg copies
are not the only form of copyright infringement. The test for actionable copyright infringement is
“substantial similarity” between the works. Just like Knock Balls is still a counterfeit of Knocky
Balls even with a trivial change to the title (removing the “y”), Knock Balls is Knocky Balls with
some trivial changes. Knock Balls and Knocky Balls are still substantially similar enough to rise
to the level of actionable copyright infringement. Even if the Court decides they are not similar
enough, Knock Bails is still infringing as a derivative work of Knocky Balls. Stallard has the
exclusive right to prepare derivative works of Knocky Balls, 17 U.S.C. § 106(2), so Voodoo would
still be infringing on Stallard's copyrights, either directly or vicariously and contributory.

204. Starting in August 2018, Voodoo distributed the Knock Balls copy of Stailard’s
Knocky Balls video game. Voodoo distributed Knock Bails on the App Store, and even on Google

Play with Knocky Balls.

Copyright Infringement was willful
205. The title of Knocky Balls is the same as Knocky Bails, but without a trivial “y”.

Even the logo for Knock Balls is like Knocky Balls. Voodoo gave Stallard’s Knocky Balls game

42
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 44 of 67

a fake bad review, and then reported Knocky Balls to Google Play for a violation of their
impersonation policy. After Google Play removed Knocky Balls, Voodoo tried to buy Knocky
Balls from Stallard, under a false moniker, They even cited the dead link to Knocky Balls on
Google Play. The link had been dead for over 2 weeks.

206. Thus, Voodoo's distribution of Knock Bails is willful copyright infringement.
Voodoo is liable to Stallard for the profits of Knock Balls, 17 U.S.C. § 504(b) and the costs of this

action. 17 U.S.C. § 505.

COUNT 7
(Goldman Sachs)
Contributory Copyright Infringement

17 U.S.C. § 501(a}-(b}

207. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

208. Voodoo's Knock Balis mark infringed Stallard's Knocky Balls game. (See Count
6). Goldman is an experienced investment bank and underwriter. On May 28, 2018, Goldman
invested almost $200 million in Voodoo and became a chief shareholder. Goldman backs the
Apple Card credit card. The Apple Card has a credit limit as low as $250, but Goldman still denies
applicants. Goldman manages almost $2 trillion in assets, yet they will not give some people a
$250 credit card. Goldman is careful about their investments and operations. Voodoo is stealing
games from indies. Goldman knew Voodoo infringed on intelectual property, and Goldman
funded Voodoo's infringement. Goldman willfully funded Voodoo's infringement of Stallard's

Knocky Balls game.

43
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 45 of 67

COUNTS
(Goldman Sachs)
Vicarious Copyright Infringement

17 U.S.C. § 501(a)-(b)

209. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

210. Voodoo's Knock Balls mark infringed Stailard's Knocky Balls game. (See Count
6). Goldman is the chief shareholder in Voodoo, Goldman profited from Voodoo's infringement
of Stallard's Knocky Balls game. Goldman invested almost $200 million. They knew Voodoo
infringed on the intellectual property of indies, like Stallard, and Goldman did not try to stop them.

In fact, Goldman still funded Voodoo,

RICO PREDICATE ACTS

(Voodoo and Goldman Sachs}

Criminal Copyright Infringement
18 U.S.C, § 2319 (17 U.S.C. § 506(a))

211. As described in the Criminal Copyright Infringement section of the Factual
Allegations, Voodoo distributed ads with footage of competing video games; distributed ads that
infringed on well-known copyrighted material; distributed ads that infringed on other copyrighted
material; distributed games that infringed the copyrights of other games; and financially gained
from both the ads and the games. These ads with footage of competing games next to their own
games could only be willful copyright infringement. The ads infringing on well-known

copyrighted material, like Mickey Mouse, could only be willful.

44
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 46 of 67

212. As described in Count 6, Voodoo’s game, Knock Balls, willfully infringed the
copyright of Stallard’s Knocky Bails game.

213. Voodoo willfully infringed copyrights for financial gain in violation of 17 U.S.C.
§ 506(a)(1)(A), so Voodoo is indictable under 18 U.S.C. § 2319. Goldman funded and aided and

abetted Voodoo’s infringement, so they are punishable as principals. 18 U.S.C. § 2.

‘Trafficking in Goods with a Counterfeit Mark
18 U.S.C, § 2320(a)

214. Voodoo intentionally published a video game, Knock Balls, on Google Play and
the App Store for financial gain. Knocky Balls is a mark registered in the principal register in the
USPTO for use with video games and mobile video games (US Registration No. 5,900,923).
Voodoo used the Knock Balls mark in connection with their Knock Balls video game on Google
Play and the App Store. Knock Balls is substantially indistinguishable from Knocky Balls. The
use of Knock Balls is likely to cause confusion or mistake with Knocky Balls. (See Count 1).
Knock Balls also infringed on the copyrights of Knocky Balls. (See Count 6). Voodoo
intentionally trafficked the Knock Balls video game. Voodoo knew the USPTO registered the
Knocky Balls mark, and Voodoo knew Knock Balls was a counterfeit mark to the Knocky Balls
mark. (See Count 1). Goldman funded and aided and abetted Voodoo’s trafficking, so they are

punishable as principals. 18 U.S.C. § 2.

Wire Fraud

18 U.S.C. § 1343

4S
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 47 of 67

Voodeo's Knock Balls fraudulently violated of Google and Apple policies

215. Voodoo knew their Knock Balls video game infringed on Stallard’s Knocky Balis
game. (See Counts 1-3, 6). Voodoo still distributed Knock Balls through legitimate marketplaces
- Google Play and the App Store, Voodoo defrauded Google and Apple by misrepresenting that
Knock Balls did not violate their content policy against intellectual property infringement and
copying other games. (The dates of these misrepresentations are listed in the Factual Allegations
section under Wire Fraud.) Voodoo made these misrepresentations through the internet in
interstate and foreign commerce.

216. Voodoo made similar misrepresentations to Google and Apple about their games
that infringed on other video games. (See Copyright Infringement under Factual Allegations).
The dates of these misrepresentations were each date that the video game or an update was
uploaded to either Google Play or the App Store. Voodoo made these misrepresentations through

the internet in foreign commerce.

Voodoo posted a fake negative review for Knocky Balls.
217. On December 12, 2018, Voodoo used a fake Google account with the name
“Mildred Mullings” to give Knocky Balls a fake 2 out of 5 rating on Google Play. Voodoo made

this misrepresentation through the internet in foreign commerce.

Voodoo fraudulently manipulated installs, reviews, and ratings

218. This was not the only fake review by Voodoo. Voodoo posted fake positive reviews
for their own games. Voodoo also purchased installs from click farms and/or bots to boost the
visibility of their games on the stores. This practice violated the Google Play and App Store
policies. Voodoo fraudulently deceived both consumers and Google and Apple through the

internet in foreign commerce. A complaint must plead fraud with particularity. Fed. R. Civ. P.

46
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 48 of 67

9(b), However, it is not practical to list each fake review of the millions of reviews for Voodoo’s
games. Stallard included the contents and date of a fake review in the Wire Fraud section in the
Factual Allegations. The liability of this form of wire fraud will probably be not be found by
examining each individual review. Instead the liability will be determined by grouping the Internet
Protocol (“IP”) addresses of the ratings, reviews and installs by Google and Apple to detect unusual

patterns from possible click farm and/or bot locations.

Voodoo fraudulently had Google remove Knocky Balis from Google Play.

219. After July 11, 2019 and before July 13, 2019, Voodoo falsely reported Stallard’s
Knocky Balls game to Google Play for violation of their impersonation policy. On July 13, 2019,
Google removed Knocky Balls from the Google Play. Voodoo made this misrepresentation

through the internet in foreign commerce.

Voodoo did not remove ads from their games when users paid.

220. Voodoo’s games are bloated with ads. Voodoo’s games have in-app purchases that
allow players to pay to remove the excessive ads. Voodoo misrepresents that the purchase will
permanently remove that ads from the game. It only temporarily removes the ads for that session.
Voodoo has numerous complaints in their reviews that they do not refund the money. This scheme
to defraud players is executed over the internet in foreign and interstate commerce. This fraud
happened each time Voodoo uploaded one of their games. Voodoo can get the specific dates from

theit records,

Voodoo fraudulently claimed their games were multiplayer when they were not.
221. Voodoo publishes the at least following “io” games: Hole.io; Paper.io; Paper.io 2;
Paper.io 3D; Ladder.io; Snaker.io; Bumper.io; Farmers.io; and Snack.io. Voodoo fraudulently

markets these games as online multiplayer video games that players can play with their friends or

A]
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 49 of 67

other humans. The computer controls the other players, and the players have fake usernames. This
scheme to defraud players is executed over the internet in foreign and interstate commerce. This
fraud happened each time Voodoo submitted one of the listed games to a store for distribution and

each time they advertised that game. Voodoo can get the specific dates from their records.

Goldman’s Wire Fraud
222. Goldman funded and aided and abetted Voodoo’s wire fraud, so they are punishable
as principals. 18 U.S.C. § 2. For the sake of brevity, this complaint will not list all the wire fraud

violations by Goldman and their employees.

‘Travel Act Bribery Violations
18 U.S.C. § 1952(a)

223. The Travel Act prohibits travel with the intent to promote an “unlawful activity”,
and then promoting (or attempting to promote) that unlawful activity. 18 U.S.C. § 1952(a). In
additional to actual travel, the Travel Act prohibits the use of “any facility” in interstate or foreign
commerce, “Unlawful activity” includes violating the bribery laws of the United States. 18 U.S.C.
§ 1952(b). These violations of bribery laws include Foreign Corrupt Practices Act ("FCPA")
violations by issuers of securities, 15 U.S.C. § 78dd-1, or domestic concerns. 15 U.S.C. § 78dd-2.
Both Tim Leissner and Goldman Sachs are domestic concerns. 15 USC § 78dd-2(h)(1).

224. Tim Leissner pleaded guilty to conspiracy violate the FCPA. Tim Leissner “took
part in the process of paying” “bribes and kickbacks to government officials” in Malaysia. He
knew “that some of the funds that would be used to pay bribes and kickbacks to government
officials would move through the U.S. banking system.” Leissner admitted, “The goal of paying
bribes and kickbacks was to influence the government officials to take official action so that

Goldman Sachs would receive business from 1MDB.” The words “bribes” and “kickbacks” are

48
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 50 of 67

plural, so there were multiple violations. These violations took place between January of 2009 and
October of 2014.

225.  Leissner admitted that culture of Goldman Sachs was to conceal their crimes from
their compliance and legal employees. He also admitted that he received large year-end bonuses
from Goldman Sachs. "During the course of the conspiracy, I conspired with other employees and
agents of Goldman Sachs very much in line of its culture of Goldman Sachs to conceal facts from
certain compliance and legal employees of Goldman Sachs." He also admitted that he "received
large year-end bonuses as an employee and agent of Goldman Sachs." Goldman aided and abetted
his FCPA violations and money laundering, so they are punishable as a principal. 18 U.S.C. § 2.
Stallard alleges that Goldman did know about this, and they only pretend that they do not know.

226. For the sake of brevity, this complaint will not list all the FCPA violations by

Goldman and their employees.

Bribery
18 U.S.C. § 201

227. After Hank Paulson took office as Secretary of the Treasury on July 10, 2006,
Goldman gave him a $18.7 million bonus and accelerated roughly $50 million of his restricted
stock units. Goldman bought and continued to buy highly leveraged credit default swaps from
AIG to insure their synthetic CDOs. Then Goldman started a run on AIG that would have
bankrupted AIG, but Goldman knew that Secretary Paulson would bail out AIG. As Treasury
Secretary, Paulson made sure that Goldman was paid 100 cents on the doilar for all their credit
default swaps with AIG. Under Paulson, the government did not even ask Goldman to take a
“haircut” (less than full value) on their credit default swap contracts. In 2008, Paulson also made

sure that Goldman became a bank holding company, so they had access to the Federal Reserve.

49
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 51 of 67

228. For the sake of brevity, this complaint will not list the all the other times that
Goldman bribed high level U.S. public officials, or all the public acts that Paulson did to benefit

Goldman during the 2008 financial crisis.

Money Laundering
18 U.S.C. § 1956
229. Money laundering is moving money from the United States to (or through) a place
outside the United states with the intent to the carrying on of specified unlawful activity. 18 U.S.C.

§ 1956(a}.

Goldman laundered money to bribe Malaysian officials

230. Tim Leissner pleaded guilty to conspiracy to commit money laundering. Goldman
moved money from the U.S. to Malaysia to bribe officials in the 1MDB scandal. Leissner did not
admit to money laundering, but he admitted that Goldman laundered the money through the U.S,
banking system to Malaysia to bribe the Malaysian officials. Bribing Malaysian officials is a

specified unlawful activity. 18 USC § 1956(c)(7).

Goldman laundered money to fund Voodoo’s criminal activities

231. Other specified unlawful activities are copyright infringement (18 USC § 2319) and
trafficking in goods with a counterfeit mark (18 U.S.C. § 2320). 18 USC § 1956(c)(7)(D). Voodoo
infringed copyrights and trafficked in counterfeit goods, as described in the predicate acts above.
Goldman moved, at least, almost $200 million from the United States to France to promote those
unlawful activities. Goldman used West Street and Maples Fiduciary Services in the Cayman
Islands to help facilitate at least some of these transfers.

232. For the sake of brevity, this complaint will not list all the money laundering

violations by Goldman and their employees.

50
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 52 of 67

COUNT 9
(Goldman Sachs}
Federal Civil RICO

18 U.S.C, § 1962(a)

233. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

234. The bribery of Hank Paulson was in 2006. Paulson’s official acts were mostly in
2008. The money laundering and bribery of IMDB was from 2009 to 20014. Goldman made
billions from both, and they were the principal in both. In 2016, Goldman created West Street
Capital Partners VII using Maples Fiduciary Services in the Cayman Islands. Goldman raised $7
billion in 2017. Goldman laundered this funding through the Cayman Islands and used it to fund
Voodoo’s unlawful activities. In 2018, Goldman used, at least, roughly $200 million of the
proceeds of that income to become the chief shareholder of Voodoo. Voodoo publishes mobile
video games in interstate and foreign commerce.

235. The enterprise is an association-in-fact enterprise comprising, at least, Goldman,
Voodoo, and the 867 unknown West Street investors. The enterprise is managed, in part, by
Maples in the Cayman Islands. The secrecy provided by the Cayman Islands makes it unclear the
full extent what the entire enterprise is doing, and who is funding it. At least, the enterprise is
involved in interstate and foreign commerce through the distribution of mobile video games and
advertisements for mobile video games.

236. Congress specifically designed the RICO Act to prevent money from criminal
activities to infiltrate legitimate business, like video game development. Goldman laundered the

funds through the Cayman Islands. But for the funding from Goldman, Voodoo would not have

51
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 53 of 67

been able to clone Knocky Balls. It would still be the struggling mobile video game company that
it was before Goldman began funding it in 2016 to 2017. The massive funding by Goldman gave
Voodoo the ad funding to push Knock Bails to the top of the charts on Google Play and the App
Store. The huge investment of racketeering proceeds by Goldman greatly increased the damage
of Knock Bails to Stallard and his Knocky Balls game. The sheer size and funding of Goldman

and West Street (and by extension Voodoo) greatly increased the damages to Stallard.

COUNT 10
(Goldman Sachs and Voodoo)
Federal Civil RICO

18 U.S.C. § 1962(b)

237. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

238. Goldman raised $7 billion through West Street using Maples in the Cayman Islands.
Goldman laundered at least $200 million of the West Street money through the Cayman Islands to
fund and acquire interest Voodoo. Voodoo distributes mobile video games and advertisements in
interstate and foreign commerce. Goldman’s money laundering was one act in an ongoing pattern
of racketeering activity described above. The enterprise is not limited to Voodoo, The enterprise
is an association-in-fact enterprise comprising, at least, Goldman, Voodoo, and the 867 unknown
West Street investors. At least, it is involved in the same interstate and foreign commerce as
Voodoo. The rest of its activities are cloaked in secrecy through the Cayman Islands.

239. Goldman and Voodoo continue to maintain this criminal enterprise through

criminal copyright infringement, trafficking in goods with a counterfeit mark, and wire fraud.

52
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 54 of 67

Goldman might also have laundered more money through the Cayman Islands or used money
laundering to fund secretive activities like buying fake installs, paying fake reviews, etc. Again,
the secrecy makes it difficult to know what the enterprise is doing and who is maintaining it.
Voodoo’s racketeering activities maintains at least part of the enterprise. As part of the enterprise,
Voodoo publishes mobile video games in interstate and foreign commerce. Goldman is involved.
in the financial sector in interstate and foreign commerce.

240. Goldman has been maintaining a broader enterprise through their racketeering
activities. This enterprise predates West Street and Voodoo. It involved Wall Street participants,
like AIG, during the 2008 crisis, and Malaysian officials in 2009-2014.

241. But for the maintenance of this enterprise, Voodoo would not publish Knock Balls
and damage Stallard, and Voodoo would not have the massive amounts of ad money and support
for other fraudulent activities to boost the visibility of Knock Balls to increase the damage to
Stallard. Voodoo would not have removed Knocky Balls from Google Play, given it a fake bad

review, and fraudulently tried to purchase it through a fake company.

COUNT 11
(Goldman Sachs and Voodoo)
Federal Civil RICO

18 U.S.C. § 1962(c)

242, Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.
243. The enterprise is an association-in-fact enterprise comprising, at least, Goldman,

Voodoo, Maples, and the 867 unknown West Street investors. At least, it is involved in the same

33
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 55 of 67

interstate and foreign commerce as Voodoo and Goldman. Goldman and Voodoo are associated
with this enterprise.

244. Goldman participated in the enterprise through bribery and money laundering.
Then Goldman laundered some of that money to fund Voodoo. Voodoo participated in the
enterprise through a pattern of criminal copyright infringement, counterfeiting and wire fraud.
Goldman was also a principal in these activities. They damaged Stallard by infringing his
copyrights and trademark. They removed Knocky Balls from Google Play, gave it a fake bad

review, and fraudulenily tried to purchase it through a fake company.

COUNT 12
(Goldman Sachs and Voodoo)
Federal Civil RICO

18 U.S.C. § 1962(d)

245, Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

246. As described in Count 9, Goldman, Maples, and the West Street investors conspired
to fund Voodoo using the proceeds from racketeering activity, in violation of 18 U.S.C. § 1962(a).

247. As described in Count 10, Goldman, Maples, and the West Street investors
conspired to acquire an interest in Voodoo using money laundering, in violation of 18 U.S.C. §
1962(b). Goldman, Voodoo, Maples, and the West Street participants conspired to maintain the

enterprise through racketeering activity, in violation of 18 U.S.C. § 1962(b).

34
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 56 of 67

248, As described in Count 11, Goldman, Voodoo, Maples, and the West Street
participants conspired to conduct the affairs of the enterprise through their racketeering activities,

in violation of 18 U.S.C. § 1962(c).

COUNT 13
(Goldman Sachs and Voodoo)
Restraint of Trade
15 U.S.C, §

249, Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

250. The relevant market is the worldwide free hyper-casual mobile video game market.
As described in the Antitrust section above, free hyper-casual mobile video games cannot be
substituted even for casual mobile video games. The product market is hyper-casual mobile video
games, and the geographic market is worldwide on Google Play and the App Store. The market
is involved in interstate and foreign commerce.

251. Voodoo distributed mobile games bloated with ads to the point of being almost
unplayable. As shown in the Wire Fraud section, when a player gave their game a negative review
because of ads, Voodoo would post a fake positive review. If there was a competing game, Voodoo
gave that game a fake negative review. They did this to Stallard’s Knocky Balls game. Voodoo
game players free in-game items in exchange for a 5-star review, in violation of Apple and
Google’s policies.

252. These are anticompetitive actions, but the antitrust liability comes from the sheer

market power of Goldman Sachs. As the Supreme Court put it, Goldman is a “deep pocket parent”

55
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 57 of 67

in a market of pygmies. After Goldman contracted, combined, and conspired with Voodoo,
Voodoo dominated the market as described in the Antitrust section of the Factual Allegations.

253.  Ubltimately, under a rule of reason analysis, the antitrust issue here is that Voodoo
gained market dominance by the racketeering activities described in the other Counts, and by
having a deep pocket parent to fund those activities on a grand scale, and not through superior
products, innovation, or business acumen. The large video game companies got their success
through decades of making great games. Activision (of Activision Blizzard) made Pitfall! for the
Atari 2600 in 1982. Nintendo made card games in 1889 (yes, 1889). Even the large mobile game
companies had many years. Zynga made Words with Friends in 2009. King made Candy Crush
in 2012. Goldman made their money in finance. Voodoo’s dominance in the video game market
is from Goldman’s dominance in the finance market. Goldman and Voodoo’s combination created
undue concentration in the market that crowded out other games

254. That might concentration is anticompetitive when it comes from funding and
racketeering activities. Consumers benefit when the video game market rewards great games, not
deep pockets. Goldman and Voodoo wiil argue that their funding allowed them to provide many
great games to consumers. The reputation of Voodoo in the gaming community disputes that
argument. Ignoring the activities in the other Counts, Voodoo is known for spammy ads on social
media and games bloated with ads and spammy popups that ask for permission to collect player’s
data to target the ads. Consumers do not like these things.

255. Stallard was damaged because Goldman funded Voodoo and made them the size
that they are. But for Goldman, Voodoo would not have infringed Stallard’s game, or at least not

to the scale they did.

56
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 58 of 67

COUNT 14
(Goldman Sachs and Voodoo)
Acquisition in Restraint of Trade
15 U.S.C. § 18

256. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

257. Inthis case, the product market is the free hyper-casual mobile video game market
for the reasons specified in Count 13. The geographic market is the United States. The market
involves interstate commerce of video games through Google Play and the App Store.

258. Section 7 of the Clayton Act (15 U.S.C. § 18) is like Section 1 of the Sherman Act
(15 U.S.C. § 1), but Congress intended Section 7 to arrest the anticompetitive effects of market
power in their incipiency. Congress designed it to stop a harmful acquisition before it restrains
trade. It prohibits acquisitions whose effect “may be substantially to lessen competition.” The
prevailing fear was trends toward economic concentration. It applies to conglomerate mergers like
the one between Voodoo and Goldman.

259. In 2018, Goldman acquired the stock of Voodoo, and became a reference or chief
shareholder. As described previously, Goldman’s size dwarfs even the largest video game
companies. Goldman especially dwarfs the hyper-casual companies. As described in the Antitrust
section above, after Goldman’s acquisition of Voodoo stock, Voodoo obtained a roughly 25
percent concentration in a highly fragmented and difficult to enter market, and 50 to 60 percent
concentration of the top games in that market. The acquisition of Voodoo stock by Goldman may
substantially lessen competition in the market in violation of 15 U.S.C. § 18. The acquisition also

provided the funding to Voodoo to do the activities listed in this complaint that damaged Stallard

57
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 59 of 67

and his game. Goldman will say their stock purchase was purely for investment, but the timing of

the investment and the subsequent domination of Voodoo indicates otherwise.

COUNT 15
(Goldman Sachs and Voedoo)

Common Law Trademark Infringement and Unfair Competition

260. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

261. Stallard registered Knocky Balls with USPTO (US Registration No. 5,900,923), for
use on video games, including mobile video games. Stallard distributed his Knocky Balls video
game on many digital storefronts, including Google Play. After Stallard distributed Knocky Balls,
Voodoo distributed a copyright infringing version of Knocky Balls called Knock Balls.

262. Knock Balls is the same as Knocky Balls, except for an insignificant “y.” While
typing this complaint, Stallard frequently typed Knock Balls instead of Knocky Balls, and vice
versa. It is difficult to tell the difference between the marks, Both Google Play and the App Store
display the title of the games with the same font and font size, so there is no visible differentiation
between the two titles. Even the logo for Knock Balls is like Stallard's logo for Knocky Balls. They
both show a ball hitting 3D blocks with a cartoon splat effect.

263. Knocky Balls is not a word in the dictionary. It was chosen specifically to be used
a trademark for the game, However, now that Knock Balls exists, a user cannot type Knocky Balls

into Google, Google Play, or Bing without getting Knock Bails in the auto complete. Google and

Bing are confused. They think Knocky Balls is Knock Bails.

58
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 60 of 67

264. Both Knock Balls and Knocky Balls were distributed on Google Play. That was
true until Voodoo had Knocky Balls removed by Google for impersonation. (Knocky Balls existed
first.) They are both distributed on digital storefronts.

265. The game Knock Balls copied Knocky Balls. Knock Balls is riddled with ads, and
it receives many complaints about the ads. So much so that Voodoo allows people to pay to remove
the ads. The ads were only temporarily removed. Voodoo in general has a bad reputation among
gamers. The bad reputation of Knock Balls ruined the goodwill of the Knocky Balls mark. Do not
let the good reviews fool you. Most of the good reviews are fake, and Voodoo forced users to give
the game 5 stars to progress in the game.

266. Both Knock Balls and Knocky Balls are free games, so they are impulse downloads.

267. Voodoo has a long history of infringing the intellectual property of indie video
game developers. Indies lack the resources to fight back. Voodoo's Knock Balls mark willfully
infringed on Stallard's Knocky Balls mark, so Stallard is entitled to Voodoo's profits from Knock
Balls. Goldman knowingly funded Voodoo's infringement, and Goldman profited from Voodoo's
infringement and continued to fund them any way. Goldman is liable for vicarious and contributory

infringement.

COUNT 16
(Voodoo)

Fraud

268. Plaintiff Stallard realleges and incorporates by reference each of the allegations set

forth in the rest of this Complaint.

59
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 61 of 67

Fraudulent misrepresentation to Google and Apple

269. Google Play and the App Store have content policies that forbid copyright and
trademark infringement, so they can eliminate any vicarious liability. Google's policy stated,
“When developers copy someone else’s work or use it without required permission, it might harm
the owner of that work. Don't rely on unfair use of other people’s work.” Apple's guidelines stated,
“Come up with your own ideas... Don’t simply copy the latest popular app on the App Store or
make some minor changes to another app’s name or UI and pass it off as your own.”

270. Every time Voodoo uploaded Knock Balls or made an update to the store page for
Knock Balls, Voodoo falsely represented to Google and Apple that Knock Balls was not violating
their content policies. (These dates are listed in the Factual Allegations section under Wire Fraud).
Knock Balls would not be allowed in the marketplace if Google or Apple knew Knock Balls
violated their content policies. Voodoo knew Knock Balls violated the content policy, so Voodoo
intended to deceive Google and Apple into distributing Knock Balls, despite its violation of their
content policies. Voodoo damaged Stallard by distributing Knock Balls through Google Play and

the App Store, and Knock Bails is a “copycat” of Knocky Balls.

Posting a fake review
271. On December 12, 2018, Voodoo posted a fake review of Knocky Balls on Google
Play. They posted the fake review through a user with the fake name of “Mildred Mullings.” They
gave Knocky Balls a rating of 2 out of 5 stars with the comment: “Game is silly know challenge.”
272. Voodoo falsely represented that they were an actual user giving an honest review,
but they knew they were giving a fake review. Voodoo intended to deceive potential players who
would view the Knock Balls store page on Google Play. Voadoo also intended to deceive Google's

algorithm that uses the ratings of a video game to determine the visibility of the game on Google

60
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 62 of 67

Play. Voodoo's bad review scared away potential players and lowered the visibility of Knocky

Balls on Google Play.

Reporting a false violation to Google Play

273. On July 11, 2019, the USPTO certified Stallard's international trademark
application for Knocky Balls for filing with the WPO with France as the designated country.
(Voodoo is based in France.) On July 13, 2019, Googie Play removed Knocky Balls from the store
for violation of their impersonation policy. On July 31, 2019, the USPTO issued the notice of
publication for the Knocky Balls mark. Also, on July 31, 2019, the USPTO issued the notice of
publication for the Knocky Balls mark. On that same day, Voodoo offered to buy Knocky Bails
from Stallard. Voodoo sent the email to Stallard using a fake company called “We Buy Apps.”
The email cited a link to Knocky Balls that had been dead for 18 days because Google removed
Knocky Balls from Google Play.

274, Shortly after July 11 and before July 13, Voodoo falsely reported Knocky Bails to
Google for false violation of their impersonation policy. Voodoo knew that Knocky Balls did not
impersonate Knock Balls. Voodoo intended to deceive Google, and Google removed Knocky Balls

from the Google Play on July 13. Voodoo tried to take Knocky Balls out of the picture.

COUNT 17
(Voodeo)

Negligent Misrepresentation

275. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

276. Google Play and Apple’s App Store distribute millions of apps. To avoid vicarious
liability for those apps, Google and Apple have content policies. These policies prohibit both

61
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 63 of 67

copyright and trademark infringement. Google Play's Developer Program Policy states, “When
developers copy someone else’s work or use it without required permission, it might harm the
owner of that work. Don't rely on unfair use of other people’s work.” The App Store Review
Guidelines state, “Come up with your own ideas. We know you have them, so make yours come
to life. Don’t simply copy the latest popular app on the App Store or make some minor changes to
another app’s name or UI and pass it off as your own.” They do not have the resources to fully
investigate the intellectual property of each of the millions of apps. They rely on the honesty of
the developers and publishers. As a registered developer, Voodoo has a duty to Apple and Google
to avoid distributing video games that violate their content policies.

277. Each time Voodoo uploaded or updated Knock Balls or edited the store page of
Knock Balls, Voodoo falsely represented to both Google and Apple that Knock Balls did not
violate their content policies. The specific dates are listed in the Racketeering section of the
Factual Allegations under Wire Fraud. Google and Apple relied on those representations when
they distributed the game and made the store page available to users. If Google or Apple knew
the representations were false, they would not distribute Knock Balls or display its store page on
their platform. Google removed Knocky Balls from Google Play because they thought it violated
the impersonation policy.

278. Stallard and his Knocky Balls game were damaged by Voodoo’s false
representations that allowed Voodoo to distribute their infringing Knock Balls game through

legitimate channels.

62
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 64 of 67

COUNT 18
(Voodoo)

Tortious lnterference

279. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

280. Stallard had a business relationship with Google to distribute Knocky Balls through
Google Play. Voodoo knew Knocky Balls was on Google Play. Almost immediately after
Stallard's Knocky Balis WIPO international trademark application (designated in France) was
certified by the USPTO, Voodoo asked Google to remove Knocky Balls from Google Play for
violation of their impersonation policy. Even though, it was Voodoo's Knock Balls game that was
violating the impersonation policy. Google Play did remove Knocky Bails. This faise violation put
Statlard's Google Play developer account in jeopardy of a lifetime ban. He cannot simply restore
Knocky Balls, or he risks another strike and a permanent ban.

281. Stallard also had a business expectancy with the Google Play users, who might
download his game. Voodoo knew Knocky Balls was on Google Play, and the cloned Knocky
Balls with a game called Knock Balls. Then they used their Goldman Sachs money to push Knock
Balls to the top of the charts, so it looked like Knocky Balls was the imitation of Knock Balls.
(Even Google believed it when they removed Knocky Balls from the store). Knock Bails was
loaded with ads, and used offensive ads calling people rednecks. This tarnished the goodwill of

Stallard's Knocky Balls game with potential customers.

63
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 65 of 67

COUNT 19
(Goldman Sachs and Voodoo)

Untust Exrichment

282. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

283. Voodoo took Stallard's Knocky Balls video game and distributed it as their own
Knock Balls video game. They even sold Knock Balls in Google Play, and they had Stallard's
Knocky Balls game removed from Google Play. Goldman used their vast wealth to promote
Voodoo's Knock Balls game. They even used an ad that said, “Are you redneck enough?” They
effectively hijacked Stallard's Knocky Balls game, so he cannot distribute it without people
thinking it is Voodoo's Knock Bails game. It is not possible to undo the damage that was done.

284. Voodoo and Goldman unjustly profited and continue to unjustly profit from Knock

Balls. The equitable remedy is to disgorge them of their profits and give them to Stallard.

COUNT 20
(Goldman Sachs and Voodoo) |

Civil Conspiracy

285. Plaintiff Stallard realleges and incorporates by reference each of the allegations set
forth in the rest of this Complaint.

286, Goldman funded Voodoo with almost $200 million, and Goldman became a chief
shareholder in Voodoo. Goldman is an experienced underwriter. They would not even give
someone a $250 Apple credit card without due diligence. Goldman did their due diligence before
entering this agreement. Goldman knew how Voodoo made its money, and they wanted to fund

and be a part of Voodoo's scheme.

64
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 66 of 67

287. Goldman provided Voodoo with both funding and expertise. Goldman has many
subsidiaries and connections in secrecy jurisdictions like the Cayman Islands and Jersey (Channel
Islands). Goldman can get secret funding for Voodoo or help Voodoo secretly fund things like
click farms.

288. Together Voodoo and Goldman cloned Stallard's Knocky Balls game. They even
used a counterfeit title - Knock Balls. They fraudulently distributed their counterfeit game through
legitimate storefronts - Google Play and the App Store. Even though, Knock Balls violated the
content policies of those stores. They fraudulently gave Knocky Balls a fake bad review on Google
Play, so Knocky Balls could not be found by users. Then when they saw the French international
trademark certification for Knocky Balls, they had Knocky Balls outright removed from Google
Play.

289. This conspiracy means Voodoo and Goldman are jointly liable for all the tort claims
in their common scheme, including copyright infringement, trademark infringement, unfair

competition, fraud, negligent misrepresentation, tortious interference, and unjust enrichment.

PRAYER FOR RELIEF

Stallard respectfully requests:

entry of judgment in his favor,
an accounting and the disgorgement of defendanis' profits,

pre-judgment interest and post-judgment interest,

ooo BF p>

divestiture, dissolution, reorganization, restrictions on future activities by violators of the
RICO Act,

E. an injunction prohibiting Voodoo and Goldman from anti-competitive conduct,

65
Case 1:20-cv-02703-RBW Document1 Filed 09/18/20 Page 67 of 67

7

a court order declassifying the Shortfall Agreement for the AIG bailout,

an injunction preventing retaliation against Plaintiff Stallard by Goldman and Voodoo,

mo

an award of actual, compensatory, punitive, statutory, and treble damages,

—

fees and costs,

J. and such other relief as the Court deems appropriate.

DEMAND FOR JURY TRIAL

Plaintiff Stallard respectfully requests a trial by jury on all triable issues in accordance

with Fed. R. Civ. P. 38.

Dated: September 18, 2019 Respectfully submitted,

(Jou 0 Dire

Joseph A. Stallard

13450 Farmerest Ct. Apt 636
Herndon, VA 20171

(703) 310-7049

Pro se Plaintiff

66
